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                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                                      Norfolk Division



In    the Matter of
ePLUS INC.

                       Plaintiff,

                                                                     Civil Action No. 2:09cv232- HCM- TEM
PERFECT COMMERCE, INC.,
SCIQUEST, INC., LAWSON SOFTWARE,
INC., and VERIAN TECHNOLOGIES,
INC.,

                       Defendants


                  DECLARATION OF HARRY F. MANBECK, JR. IN SUPPORT OF
                           PLAINTIFF ePLUS INC.' S OPPOSITION
                     TO DEFENDANTS' MOTION TO STAY PROCEEDINGS

             , Harry F. Manbeck , Jr. , declare and state as follows:

            INTRODUCTION

                        My name is Harr F. Manbeck , Jr I have been retained by counsel for Plaintiff

ePlus , Inc.        ePlus        as a consultant with respect to the litigation currently before the Court in the

above-captioned matter. I have been asked by                 ePlus     to consider certain materials relating to the

reexamination of U. S. Patent No. 6 023 683 (" the ' 683 Patent" ), and U. S. Patent No. 6 505 172

     the ' 172 Patent" ) (collectively "the       ePlus   patents

II.         BACKGROUND AND QUALIFICATIONS

                        I am a former Assistant Secretary of Commerce and Commissioner of Patents and

Trademarks of the United States , having been appointed by former President George Herbert

Walker Bush. I served in this position from March 1990 to May 1992. I am a member of the



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Bar of the District of Columbia and other jurisdictions, and I am registered to practice before the

United States Patent and Trademark Office ("PTO" ). I am curently a parner in the firm of

Rothwell , Figg, Ernst & Manbeck. My offces are located at 1425 K. Street , N.                   , Suite 800

Washington D. C. 20005. A copy of my            curriculum vitae      is attached hereto as Exhibit A.

                  Prior to serving as Assistant Secretary and Commissioner of the PTO , I practiced

patent law for over thirty- five years. At the time that I assumed those offices , I was the General

Patent Counsel for the General Electric Company. I joined General Electric as a test engineer in

1949 , became a patent attorney in 1955 , and I advanced to become General Patent Counsel in

1970, a position that I held for twenty years. As the Commissioner of Patents , the General Patent

Counsel and in my other positions at General Electric, and in my present practice I have had

extensive experience with patent practice and procedures, as well as the policies and practices

that were applied by the PTO to the examination of patent applications. In paricular, I have


considerable expertise in the analysis and interpretation of events occurring during the

prosecution of patent applications before the PTO , including reexaminations.

                  I receive compensation from         ePlus    at my standard hourly rate , currently $700 , for

every hour that I devote to providing the expert analysis and testimony requested of me in this

case. My travel and incidental expenses related to my engagement as an expert witness are

reimbursed by     ePlus    as well. No par of my compensation depends upon the outcome of this

matter.

                  For purposes of forming my opinions and conclusions , I have considered a variety

of materials. In paricular , I have considered the patents at issue in this matter , the ' 683 Patent

the ' 172 Patent and U. S. Patent No. 6 055 516 ("the ' 516 Patent" ). I have also considered the




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reexamination file history of the ' 683 Patent and the request for                    inter partes     reexamination of the

, 172 Patent , as well as other documents as indicated below. I


III.       FACTUAL BACKGROUND
           6.       I understand and am informed that            ePlus    fied the Complaint against Defendants

in the Alexandria Division of this Court on May 19 2009. I understand that the Court

immediately transferred the action to the Norfolk Division of this Court. I understand that each

of the Defendants has been served with the Complaint in this matter , and that each of them have

filed an Answer. In addition , I understand and am informed that the parties have stipulated to the

dismissal of Veri an Technologies , Inc. from this action. I understand that the Court has set a trial

date for before January 28 2010. I understand that the typical time until trial for a case pending

before this Court is less than one year. I understand that on July 14 2009 , Defendants Perfect

Commerce, LLC , Lawson Software , Inc. , and SciQuest , Inc. fied a motion to stay this litigation

pending the outcome of the reexaminations of the ' 683 and' 172 Patents. I have reviewed

Defendants ' motion and brief.

                     ePlus      is a Delaware corporation having a principal place of business at 13595

Dulles Technology Drive , Herndon , Virginia. I understand and am informed that                             ePlus   has

previously litigated the ' 683, ' 516 and ' 172 Patents. Those previous actions were heard in the

Alexandria and Richmond divisions of this Court.

                     During the previous litigations , claims of the patents were construed by this

Court. This prior litigation includes:

                             ePlus, Inc.    v.   Ariba Civil Action No.    :04cv612            Ariba
                             ePlus, Inc.    v.   SAP America, Inc., et al. Civil Action No. 3:05cv281 (JRS)
                               SAP"


I The '
          516 Patent claims are not the subject of reexamination.



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                       I am informed that both previous litigations ended favorably for                    ePlus     through a


settlement and license, in the case of                    Ariba      following a favorable adjudication on the merits at

trial. I also      understand that one of the Defendants in the instant action Verian Technologies , Inc.

has entered into a settlement agreement with ePlus.

            10.         The ' 683 Patent issued on February 8, 2000. The ' 516 Patent issued on April 25

2000. The ' 172 Patent issued on Januar 7 , 2003. The ePlus Patents contain claims directed to

electronic sourcing systems and methods performed by electronic sourcing systems. The ' 683

Patent wil expire on February 8, 2017. The ' 516 and ' 172 Patents wil both expire on August


      2014.

            11.         I observe that all three patents share a detailed and lengthy written disclosure.

The disclosure describes several embodiments of electric sourcing systems and methods

performed by such systems. An electronic sourcing system , according to the patents , is an

electronic system for use by a prospective buyer to locate and find items to requisition and then

purchase from sources. The electronic sourcing and procurement systems and methods automate

internal corporate purchasing processes , resulting in considerable savings in time and expense.

Corporate customer users may search for items for sale from multiple selected electronic

catalogs (each associated with a supplier source), determine whether a selected matching item

found in the catalog search is available in the supplier s inventory, find related items available

from other suppliers; and build requisitions from the selected matching items found in the

catalog search( es). If a requisition                   is approved , the system then generates electronic purchase

orders to each different supplier identified in the approved requisition.                        See, e.           683 Patent

Col. 3 :3- 24.




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             12.          All three ofthe patents- in-suit derive priority from Application Serial No.

08/288 577 , fied August 10 , 1994.

IV.         OVERVIEW OF EVENTS OCCURRNG DURING THE REEXAMINATION OF
            THE ' 683 PATENT AND THE REQUEST FOR REEXAMINATION OF THE ' 172
            PATENT
             A.           The ' 683 Patent Reexamination

             13.          I have considered the publicly-available materials for the reexamination of certain

claims of the ' 683 Patent , which has been assigned Reexamination No. 90/008 104 by the United

States Patent & Trademark Offce (" PTO"                            the ' 683 reexamination

             14.          On July 17, 2006, SAP AG and SAP America , Inc. (collectively, " SAP"

requested          ex parte      reexamination of claims 26-45 ofthe ' 683 Patent. Claims 1- 25 of the ' 683

Patent are not subject to reexamination.

             15.          On August 17 , 2006 , the PTO issued a Notice of Failure to Comply With


Parte       Reexamination Request Filing Requirements pursuant to 37 C.                             R. 1.510      . The PTO

pointed out several deficiencies in SAP' s reexamination request.

             16.          On September 14 , 2006 , SAP fied an amended request for                     ex parte    reexamination

of the ' 683 Patent. On October 28 2006 , the PTO Examiner granted the Request contending that

there were substantial new questions of patentability (" SNQs ) raised based on 21 alleged prior

art references when interpreted in 20 different ways. I am informed that all of the prior art raised

in the reexamination request was raised in the                      SAP    litigation.

             17.              On Januar 29       2007 ePlus     filed a Patent Owner s Statement responding to the

Examiner s SNQs.                  ePlus   pointed out that many of the alleged references relied upon by the PTO

Examiner are not prior art because they did not pre- date the ' 683 Patent' s priority date.

Moreover ePlus                 pointed out that several ofthe purported prior ar references relied upon were

not either patents or printed publications , but , rather , were executable computer code and screen


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display printouts for allegedly reconstructed computer systems. Thus ePlus       contended that such

materials were not permissible under the reexamination statute. In addition , several of the

purported " references " relied upon for alleged anticipation grounds were actually combinations

of references which did not constitute a single publication.

         18.    On February 29 , 2008 , the PTO Examiner issued a first Office Action in response

to the Patent Owner s Statement relying on only 4 ofthe alleged prior ar references for

anticipation purposes and no longer relying on any SNQs based on alleged obviousness ofthe

claims. The Examiner also no longer relied on any SNQs based on the executable computer

code and screen display printouts.

         19.    On May 29 , 2008 , ePlus submitted a response to the February 29 , 2008 Office

Action with a supporting declaration from a technical expert. The response contained dozens of

pages of argument distinguishing claims 26- 45 from the four cited references.

         20.    On Januar 8 , 2009 , the PTO Examiner issued a final Offce Action maintaining

his rejection of claims 26- 45 based on the four allegedly anticipatory references.

         21.    On March 6 , 2009    ePlus    fied a Notice of Appeal to the PTO' s Board of Patent


Appeals and Interferences (" BP AI"

         22.    On May 6 2009 ePlus          filed an Appeal Brief with the BPAI appealing each

pending ground of rejection. The PTO Examiner has yet to file an Answer to ePlus s Appeal

Brief.

         23.    I note that ePlus has not amended any of claims 26- 45 of the ' 683 Patent during

the course of the pending reexamination. Nor has ePlus added any new claims.

         24.    I also note that at least two of the Examiner s pending grounds for rejection

appear to be based upon a legally improper claim construction.




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          25.      Independent claim 26 is illustrative. That claim recites the following:

                   26.    A method comprising the steps of:

                          maintaining at least two product catalogs on a database
                   containing data relating to items associated with the respective
                   sources;

                          selecting the product catalogs to search;

                           searching for matching items among the selected product
                   catalogs;

                          building a requisition using data relating to selected
                   matching items and their associated source(s);

                           processing the requisition to generate one or more purchase
                   orders for the selected matching items; and

                           determining whether a selected matching item is available
                   in inventory.

          26.      According to the disclosed methods , a computer is provided with a catalog

database comprised of at least two product catalogs , each associated with a respective source.

 683 Patent , Col. 4:35- 37. In this context , a " catalog " is an organized collection of items and

associated source information. The catalog item information typically includes such information

as part number , price , catalog number , vendor name or ID , as well as textual information and

images of or relating to the items. ' 683 Patent , Col. 4:37- 41.

          27.      The disclosed methods facilitate searching multiple catalogs associated with

different sources          suppliers , vendors or distributors of products or services. ' 683 Patent,

Col. 4:45- 46. The disclosed methods permit the customer end-user to select the catalogs to be

searched for a needed item. ' 683 Patent, Col. 9:52- 55. The electronic sourcing methods permit

the customer to then search the selected catalogs to identify needed items from different sources.

Matching items found in conducting searches of the multiple catalogs may be selected for




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inclusion in an electronic requisition built by the system. ' 683 Patent , Col. 10:2- 43. As

discussed in more detail below requisitioning " means " requesting a needed item. " Thus a

 requisition " is the " formal written request to purchase something needed.

            28.         Importantly, the disclosed electronic sourcing methods also provide for

automatically generating one or more purchase orders from the electronic requisition. ' 683

Patent , Col. 15 :20- 49. In this context , a " purchase order" is " a commission or instruction to buy

something. " Thus , for example , after a requisition has been approved, the electronic sourcing

system generates one or more electronic purchase orders from the requisition, for example,

generating a purchase order to transmit to each separate source associated with the items

included in the requisition.               Id.

            29.         The disclosed methods are also used to determine the availability of a selected

matching catalog item          (e.         an item found in a search of the selected catalog(s)) in inventory of

the associated source of the item. ' 683 Patent , Col. 14:4- 20.

            30.         During reexamination, as with original examination , although the PTO is to give

claims their broadest reasonable interpretation , such interpretation must take into account any

definitions presented in the patent specification and must be consistent with the interpretation

that a person of ordinary skil in the art would reach.               In re American Academy of Science Tech.

Center 367 F. 3d 1359 , 1364 (Fed. Cir. 2004) (cited in               In re Icon Health    Fitness, Inc. , 496

   3d 1374 , 1378- 79 (Fed. Cir. 2007));              In re Cartright 165 F. 3d 1353, 1358 (Fed. Cir. 1999).

            31.         The PTO Examiner , however , appears to have interpreted the claim term

 requisition " to mean " an order for something " notwithstanding that the patent claims and

specification explicitly require and disclose a separate step of building a " requisition " that occurs

prior to the step of processing the requisition to generate one or more "purchase orders. " The




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  683 Patent specification clearly describes that a "requisition " is " a formal request to purchase

something. " This step can occur before a user has selected a source from which to purchase a

desired item , for example. ' 683 Patent , Col. 13:63- Col. 14:65. The " requisition " is described in

the patent as a document internal to the purchasing organization. It is not transmitted to a

supplier. Instead, it may be submitted internally for approval prior to the generation of any

purchase order.           See, e.         , 683 Patent , Col. 15: 10- 22. Once the " requisition" is approved , it can

be converted to one or more purchase orders by the system.                                   See, e.         683 Patent , Col. 15 :20-

22. Thus , the specification distinguishes between a request internal to the purchasing

organization to purchase something (requisition) and the formal contractual agreement to

purchase something which is sent from the purchaser to the supplier (the purchase order).

            32.         Therefore , in my opinion , the Examiner s construction of " requisition" as "

order for something " is incorrect and not sustainable. I believe that each of the Examiner

grounds for rejection which rely upon this improper claim construction is not likely to be

sustained by the BP AI.


                        The Request for             Inter Partes        Reexamination of the ' 172 Patent

            33.         I have also considered the request for                inter partes         reexamination of the claims of

the ' 172 Patent , which has been assigned Reexamination No. 95/000 487 by the PTO.

            34.         On July 10 , 2009 , Defendant Lawson Software , Inc. (" Lawson ) requested                               inter

partes     reexamination of the claims of the ' 172 Patent before the PTO.

            35.        Inter partes        reexamination is different from              ex parte         reexamination in that the

third pary who requested reexamination has rights to paricipate in the conduct of the

reexamination , including commenting on the Patent Owner s responses to Office Actions , and

like the Patent Owner , has rights to appeal the conclusions of the examiner to the BP AI and to

the Federal Circuit.


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              36.         Upon my initial review of Lawson s Request for Reexamination , I noted several

deficiencies which may delay or preclude the granting of the Request.

              37.         For example, the Request fails to explain for each and every claim how the cited

materials meet the claim limitations. Nor does the Request identify and explain all combinations

of the alleged prior art references that Lawson asserts render the claims invalid as obvious. The

PTO regulations require that a request for reexamination include a statement pointing out each

alleged substantial new question of patentability based on the cited patents and printed

publications , and a detailed explanation of the pertinency and maner of applying the patents and

printed publications to every claim for which reexamination is requested.                See   37 C.   R. 9


1. 915(b )(3).


              38.         Another example of a deficiency in Lawson s Request is that the Request relies

on materials that are not patents or printed publications such as executable computer code and

screen printouts using such code. Such materials are not permissible bases for a reexamination

as 35 US. C. 9 301(a) limits the art that may be cited in a reexamination request to prior art

patents and printed publications. Similar materials cited by SAP with respect to the request for


reexamination of the ' 683 Patent were not relied upon by the PTO Examiner as bases for

rejections.

              39.         Indeed , it appears that the PTO concurs with my assessment that Lawson

Request for           Inter Partes     Reexamination of the ' 172 Patent is defective. There is an indication on

the PTO' s Patent Application Information Retrieval (" PAIR" ) database that the PTO has issued a

Notice of Incomplete Reexam Request , thus precluding a filing date from being accorded to the

Request.        See     Exhibit B attached. The actual Notice is not yet available so the bases for the

PTO' s rejection of Lawson s Request are not yet known. Lawson wil be given an opportunity




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to cure the defects by filing an amended Request. Until the defects are cured , however , the

Reexam Request is not accorded a fiing date and not put into the queue for review for a decision

on whether to grant or deny the Request.

           ADDITIONAL STEPS FOR                                     INTER PARTES                  REEXAMINATION

           40.         Attached as Exhibit C is a procedural flowchar taken directly from the United

States Patent and Trademark Offce s (" PTO" ) Manual of Patent Examining Procedure

   MPEP" ) showing the various steps inherent in                                   inter partes     reexamination proceedings.

Attached as Exhibit D is a chart correlating the steps in the flowchart of Exhibit C to the relevant

statutes or regulations and the time periods associated with each step in the flowchart. Attached

as Exhibit E is a table of statistics issued by the U. S. Court of Appeals for the Federal Circuit

indicating the median time to disposition in cases terminated after hearing or submission.

            41.        There is no deadline, either statutory or under the rules , for the completion of any

phase of either         inter partes             or    ex parte       reexamination once the reexamination has been declared

and the first office action has been mailed.

VI.         PENDENCY RANGES IN                                    INTER       PARTES         REEXAMINATIONS

            42.         The statistics discussed below were calculated based on a July 2009 review

conducted of all              inter partes            reexaminations fied since November 1999 , when the PTO

established this type of reexamination. The PTO maintains this public information on the PAIR

database of its ww. uspto. gov website. To review individual records , the user enters the

reexamination control number into the PAIR search screen to retrieve the record.                                        See   chart

attached as Exhibit F hereto.


            43.         The       inter partes           reexamination data points collected for these calculations were:




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                (1)     Filing Date: The date that the PTO assigned a Request for Reexamination

its filing date ifit meets the fiing requirements of37 C.      R. 9 1.915.



                (2)     Reexamination Request Determination Date: The date the PTO issued an

Order granting or denying the Request for Reexamination.

                (3)     Initial Offce Action: The date the PTO issued a first Offce Action.

                (4)     Action Closing Prosecution (" ACP" ): The date the PTO issued an Action

Closing Prosecution (" ACP"

                (5)     Right of Appeal Notice: The date the PTO issued a Right of Appeal

Notice.

                (6)     BPAI Decision: The date the PTO' s Board of Patent Appeals and

Interferences (" BP AI" ) issued a decision on an appeal.

                (7)     Federal Circuit Decision: The date the U. S. Cour of Appeals for the

Federal Circuit issued a decision on appeal from the BPAI's Decision.

                (8)     Reexamination Certificate: The date the PTO issued a Reexamination

Certificate that concludes the reexam process.

          44.   The PTO' s individual   inter partes   patent reexamination records show the

following pendency ranges:




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        Pendency                                                                  Lowest Pendency                Highest Pendency
       (1)          Filing Date to                                                           13 Days                      6 Months
       (2)          Reexamination Order Date
       (2)          Reexamination Order Date to                                              13 Days                      2.2 Years
       (3)          First Office Action
       (3)          First Office Action to                                                  0.3 Years                     5.2 Years
       (4)          Action Closing Prosecution
       (4)          Action Closing Prosecution to                                            9 Months                      5 Years
       (5)          Right of Appeal Notice
       (5)          Right of Appeal Notice to                                               1.5 Years                      7 Years
       (6)          BPAI Decision
       (6)          BP AI Decision to                                                           N/A                         N/A
       (7)          Federal Circuit Decision
       (7)          Federal Circuit Decision to                                                 N/A                         N/A
       (8)          Reexamination Certificate

             45.        Importantly, since 1999 , only eleven                          inter partes    reexaminations have received a

BP AI Decision to date. Two of these reexaminations addressed related patents and were


consolidated for appeal. In the consolidated appeal , the BP AI reversed the Examiner s rejections

and the requester has appealed the BP AI's decision to the Federal Circuit. With respect to the


remaining nine proceedings , in two cases , the BP AI has issued a final decision , but the time for

appeal to the Federal Circuit has not yet expired. In five proceedings , the pary that lost at the

BP AI did not take further action and , in two of the five, the reexamination certificate has been


issued. In the remaining two proceedings , the reexaminations were remanded to the Examiner

for further consideration. Thus, in the more than nine years since the                                     inter partes      statute was

enacted , there has only been one                    inter partes        reexamination that has progressed from the BP AI to

the Federal Circuit. Of course, it is my understanding that even a decision by the Federal Circuit

could thereafter be the subject of a petition for                         certiorari          to the United States Supreme Court,

which has heard a number of patent cases in the last few years.




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               46.        Out of 682        inter partes       reexaminations filed to date , over 95% received a Filng

 Date , 84% received a Reexamination Order, 78% received a First Office Action , 42% received

 an Action Closing Prosecution , 27% received a Right of Appeal Notice , and only 1. 6% reached

                                   the eleven described above).
                                                                                 2 Only 3.
 BPAI Deeision             (i.                                                                    90%     (i.      15) of all       inter partes

 reexaminations received a Reexamination Certificate at some point during the reexamination. In

 most of these cases , the patent owner simply decided to drop its opposition to the Examiner

 rejections, something I am informed ePlus does not intend to do if a contested reexamination

 should be ordered.

               47.       Out of 682         inter partes       Reexamination Requests filed as of the date of the above

 review , only 12% of the reexaminations have concluded                                          e.,    Reexamination Certificates were

 issued. A Reexamination Certificate may issue following an appeal, but it can issue sooner if the

 Patent Owner ceases to paricipate in the proceedings.                                    See                   P. 92687. As discussed

 above , only one           inter partes       reexamination has ever proceeded through each step in the entire

reexamination process in the over nine years since the inception of the                                              inter partes      reexamination

option. And , that reexamination is stil pending because it is on appeal to the Federal Circuit.

               48.       Using the pendency ranges in the above table , it is clear that                                    inter partes

reexaminations can and usually do extend over a period of several years. The PTO' s statistics for

inter partes         reexamination pendency (Exhibit G) indicate that the average pendency for                                               inter

partes     reexamination is 36. 1 months. However, as noted above , this number simply does not

reflect the average or expected pendency for cases where the patent owner fights to preserve its

patent. In those cases, the actual pendency is much longer.




2 The statistics relied on in the body of the declaration include data through July 16
                                                                                                                    2009. Exhibit G includes some
of the same categories of data but extends only to June 30 , 2009.



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            49.         The Institute for Progress , an independent intellectual property think tan co-

founded by Kevin Rivette , former Chairman of the USPTO Public Patent Advisory Committee

released a white paper last year addressing the PTO' s reexamination pendency statistics.                                      See

Exhibit H attached. In this white paper , the authors confirm that while the PTO' s pendency data

may be statistically accurate , it is based on the small number of                                inter partes    reexaminations

wherein Reexamination Certificates had issued. The Institute s white paper indicates that where

the patent owner actively paricipates in the reexamination process rather than merely allowing it

to proceed undefended , the average pendency is actually much longer than for cases where there

is no appeal to the BP AI. According to the Institute s research , in cases that are appealed, the

pendency is in excess of 70 months , although the data is incomplete for such cases - as I noted at

Paragraph 45 , only eleven cases have ever received a BP AI decision. This 70 month average


pendency period furher increases if either party appeals the BP AI's decision to the Federal

Circuit. Based on the Federal Circuit' s statistics (Exhibit E), it should take on average nearly 9

additional months to reach a final decision regarding the reexamination. However , there has

been no      inter partes         reexamination that has ever proceeded through each step in the entire

reexamination process through an appeal to the Federal Circuit in the over nine years since the

inception of the            inter partes     reexamination option.

            50.         Given the fact that so few                   inter partes      Reexamination Certificates have issued and

the circumstances surrounding their issuance , the rate that claims were subject to cancellation or

amendment in those completed                         inter partes        reexaminations would not appear to be a predictable

indicator of the rate of such cancellation or amendment for all                                 inter partes     reexaminations.

However , the PTO' s statistics regarding                           ex parte        reexaminations - a much larger sample size-




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 indicate that all claims are cancelled in such reexaminations approximately 11 % of the time.                           See

 Exhibit I.

 VII.       EX PARTE             REEXAMINATIONS

            51.          With respect to            ex parte     reexaminations , because such proceedings have been in

effect since 1981 and the number of requests for                          ex parte   reexaminations are far greater (9893 to

date), it is difficult to track each proceeding through to ultimate conclusion in the same manner

as set forth above for the                  inter partes       proceedings. However , attached as Exhibit J is a

procedural flowchar taken from the MPEP showing the various steps inherent in                                ex parte

reexamination proceedings. Attached as Exhibit K is a char correlating the steps of the

flowchart of Exhibit J to the relevant statutes or regulations and the time periods associated with

each step in the flowchart.

            52.          As is evident from the flowchart of Exhibit J and the chart of Exhibit K , the final

Office Action in an             ex parte        reexamination proceeding, such as issued in the ' 683 Patent

reexamination proceeding, is far from being a final determination as to the validity of the

reexamined patent. The PTO' s statistics , however , show that only 11 % of the cases result in all

claims being canceled.                See      Exhibit I.

            53.          After issuance of a final Offce Action , the Patent Owner then has the right to

appeal an Examiner s rejection in a final Office Action to the PTO' s BPAI within six months.

An Appeal Brief is to be filed by the Patent Owner within two months after the fiing of a Notice

of Appeal , as ePlus           has done here. The Examiner is to fie an Answer to the Patent Owner

Appeal Brief within two months thereafter. (The Examiner in the ' 683 Patent proceeding has yet

to file an Answer.) In some cases , the Patent Owner may fie a Reply Brief if the Examiner

raises a new issue in the Answer.




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            54.         Once the issues are fully briefed , the fie is transferred from the Examining branch

 to the BP AI. The Patent Owner may file a request for an oral hearing and the oral hearing before


the BP AI is typically conducted within six to twelve months after the request for oral hearing is

fied. The BP AI's decision on appeal typically issues within one to three months after the oral


hearing, although there is no deadline and the decision may take longer. The Patent Owner may

file a request for a rehearing of any unfavorable BP AI decision within two months after receipt

of the BP AI decision. The BP AI's decision on the request for rehearing typically issues within


one to two months thereafter , although there is no deadline for the decision.

            55.        If the BP AI's decision remains unfavorable , the Patent Owner has the statutory

right to appeal the decision within 60 days to the Federal Circuit. The Federal Circuit wil set its

own schedule for briefing and argument. As indicated in Exhibit E , the median time for

disposition in the Federal Circuit for an appeal of a PTO decision is 8. 9 months. There is no

deadline by which the Federal Circuit must decide the appeal.

           56.         The PTO' s statistics show an average pendency of24. 8 months for         ex parte

reexaminations , that is from the time the request is granted to the time the certificate is issued.

See   Exhibit I. Because the number of         ex parte     reexaminations is so numerous , it is impracticable

to perform a similar analysis on each one , as was done for            inter partes   reexaminations.

However , as with the pendency data for           inter partes   reexaminations , I believe that the 24.

month average is highly skewed in favor of cases where the patent owner is not vigorously

defending its patent. The overwhelming majority of cases in which a final rejection is issued are

not appealed to the BP AI. Of those that are , fewer stil are again appealed to the Federal Circuit.




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VIII. THE PATENTS ARE LIKELY TO BE NEAR EXPIRATION UPON THE
            TERMINATION OF THE REEXAMINATIONS
            57. As noted above                , it is likely that in the normal course both the                 inter partes

reexamination of the ' 172 Patent , if granted , and                       ex parte      reexamination of the ' 683 Patent wil

extend until late in the life of each patent and possibly thereafter in the case of the ' 172 Patent.

Given that one of the rights of the patent owner is to seek a permanent injunction and exclude its

competitor from infringement , ePlus wil be effectively denied one of the significant remedies

available to it under federal patent law. Claims are not cancelled or confirmed in reexaminations

until a final action or ACP has issued, all appeals have been exhausted , and a reexamination

certificate has issued.      See     37 C.F. R. 9 997(a) (" Upon the conclusion of an                          inter partes

reexamination proceeding, the Director wil issue a certificate in accordance with 35 U.

316.... ); 35 U. C. 9 316(a) ("                In an    inter partes        reexamination proceeding.... , when the time

for appeal has expired or any appeal proceeding has terminated , the Director shall issue and

publish a certificate canceling any claim of the patent finally determined to be unpatentable

confirming any claim of the patent determined to be patentable , and incorporating in the patent

any proposed amended or new claim determined to be patentable.                                      See also             P. 92288

(Upon conclusion of the            ex parte       reexamination proceeding, the examiner must prepare a

 Notice of Intent to Issue          Ex Parte           Reexamination Certificate " (NIRC) by completing form

PTOL- 469. If appropriate , an examiner s amendment wil also be prepared. Where claims are

found patentable, reasons must be given for each claim found patentable. In addition , the


examiner must prepare the reexamination fie so that the Office of Publications can prepare and

issue a certificate in accordance with 35 U. C. 307 and 37 C. R. 1. 570 setting forth the results

of the reexamination proceeding and the content of the patent following the proceeding.




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             58.        Accordingly, the date for any final cancellation or confirmation of the claims as a

result of the reexaminations is likely to take years to complete , and wil likely not be completed

until late in the life of each patent and possibly thereafter in the case of the ' 172 Patent. Thus , a

stay of this action pending completion of those proceedings has the effect of denying ePlus the

right to exclude others from the use of its inventions.

IX.         INTERIM FINDINGS IN REEXAMINATIONS

            59.         A reexamination proceeding, whether                          ex parte   or   inter partes is not completed,

and does not in fact make any changes to the patent under reexamination , until a reexamination

certificate is issued that cancels claims , confirms claims , and/or modifies claims and/or the

specification. This is so even if amendments have been accepted by the Examiner or the BP AI

and even if claims have been finally rejected or finally confirmed by the Examiner or the BP AI.

            60.         The PTO is free to reconsider its initial determinations in a reexamination prior to

issuing a reexamination certificate.                     See Fresenius Med. Care Holdings 2007 WL 1655625 at *4

(N. D. Cal. 2007).

            61.         Until a certificate is issued in a reexamination , final disposition of any

reexamination proceeding is unkown , and therefore , until such a certificate issues , it remains

possible that the PTO' s determination in the reexamination wil have no ultimate bearing on the

scope or life of the patent.               See Fresenius; see also Texas MP3 Technologies                       v.   Samsung

Electronics 2007 WL 3219372 (E. D. Tex. 2007).




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Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 20 of 111 PageID# 651



           I declare under penalty of perjur that the foregoing is tre and correct to the best of my

  knowledge and belief.

           Executed this      ay of July, 2009 in Washington , D.




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                  EXHIBIT A
Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 22 of 111 PageID# 653




                                            BIOGRAPHY
                                    HARRY     F. MANBECK,     JR.

  Harry F. Manbeck , Jr. is an attorney-at- law and a member of the firm of Rothwell , Figg, Ernst &
  Manbeck , P. c. The firm and Mr. Manbeck' s offces are located at 1425 K Street , N. , Suite
  800 , Washington , DC 20005. From March 1990 to May 1992 , he was Assistant Secretary of
  Commerce and Commissioner of Patents and Trademarks of the United States. He was
  nominated to these offces by President Bush on October II , 1989 and confirmed by the Senate
  on March 9 , 1990.

  Prior to his government service , Mr. Manbeck practiced patent law for over thirty- five years and
  at the time of his appointment he was General Patent Counsel of the General Electric Company.
  He joined General Electric in 1949 and advanced to become General Patent Counsel in 1970
  which position he held unti becoming Commissioner. Prior to joining the General Electric
  Company, he served in the U. S. Army Signal Corps.

  A native of Honesdale , Pennsylvania, Mr. Manbeck graduated with Highest Honors from Lehigh
  University in 1949 with a B. S. in Electrical Engineering. He received his L.L.B. with Honors
  from the University of Louisvile in 1954. Mr. Manbeck is a member of the District of
  Columbia , Connecticut , Indiana , Kentucky and Massachusetts bars and is admitted to practice
  before the Court of Appeals for the Federal Circuit. He is also registered to practice in front of
  the United States Patent and Trademark Office.

  Mr. Manbeck has served as Chairman of the Patent , Trademark and Copyright Section of the
  American Bar Association; President of the Association of Corporate Patent Counsel; a Director
  of the Intellectual Property Owners , Inc. ; and a Director of the Bar Association of the Court of
  Appeals for the Federal Circuit. He is also a member of the American Intellectual Property Law
  Association and the Connecticut Patent Law Association. In 1984 Mr. Manbeck was awarded
  the Whitney North Seymour Medal of the American Arbitration Association for contributions
  made to the process of arbitration in the United States.

  Mr. Manbeck is married to the former Julia P. McCarthy and they reside in McLean , Virginia.




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Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 23 of 111 PageID# 654




                                 PUBLICATIONS AUTHORED BY
                                        Harry F. Manbeck, Jr.


  1. "    V oluntary Arbitration of Patent Disputes - The Background to 35 U .       c. 294"
  AIPLA Quarterly 1. #4 , pp. 268- 273 , Fall 1983.

  2. "Entering,Our Third Century , Keynote Address Before the American Bar Association
               Trademark and Copyright Law
  Section of Patent                                   , Chicago , Ilinois , August 4 , 1990
  72 JPOS 1177 (1990).

  3., Fall"The
  144
               Evolution and Issue of New Rule 56" , 20 AIPLA Quarterly J. , #3 & 4
            1992.
                                                                                          , pp. 137-


  4.    "The Federal Circuit - First Ten Years of Patentability Decisions
  Univ. L.R. 499 (1992).
                                                                                   , 14 George Mason



  5. , Course
  1988
        "Key Handbook
                License Clauses for Technology License Agreements , Technology Licensing
                                       , Practicing Law Institute
                            , Series #245                             , Copyrights
                                                                    , Patents
  Trademarks and Literary Propert.

  6.    Author and Presenter Current Developments in U. S. and International Law & Policy
  Hatsumei Kyokai (Japan Institute ofInvention and Innovation) (Tokyo
  Japan; March 8 , 1993).

  7. Co- Author with C. Chalsen and M. Murray, " A Report on the Recommendations of the
  Advisory Commission on Patent Law Reform Selected Legal Papers , American Intellectual
  Property Law Association , Vol. X , No. , pp. 3- 20 (January 1993).

  8. Co- Author and Co- Presenter with C. Chalsen A Report on the Advisory Commission
  on Patent Law Reform        Chizaiken (Japan Institute of Intellectual Property) (Tokyo , Japan;
  September 16 , 1992).

  9. Co- Author and Co- Presenter with C. Chalsen         Techniques for Obtaining a Strong U.
  Patent" , Japancse Group of A. I.P. I.; Prcsented: Tokyo , Japan , September 18,
  1992 , Published: Journal of the Japanese Group A. I.P.    , Vol. 38 , No. , pp. 16-
  (January 1993).


  10. Co- Author with C. Chalsen and M. Murray; and Co- Presenter Effective Handling of
  Jury Trials in Patent Cases , Presented: Tokyo , Japan; September 18 , 1992 , Published: Journal
  of the Japanese Group A.LP. , Vol. 37 , Nos. 9- , pp. 12-
  (September - October 1992).




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 Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 24 of 111 PageID# 655
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  95/000, 487         ELECTRONIC SOURCING SYSTEM                                         07- 27-
                                                                                         2009::09:12:09
 Transaction History
  Date
   2009
 07- 27-
            Transaction Description
            Notice of Incomplete Reexam Request Received but no filing date accorded
 07-23-2009 Certificate of Service
 07-23-2009 Change in Power of Attorney (May Include Associate POA)
 07- 10- 2009
            Information Disclosure Statement (IDS) Filed
 07- 10- 2009 Reexam - Information Disclosure Statement Filed by Third Party Requester
 07- 10- 2009 Receipt of Original Inter Partes Reexam Request

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                         CASES IN WHICH HARRY F. MANBECK, JR.
                             HAS TESTI.FIED SINCE JUNE 2005


  Case Name:         Cargil, Incorporated v. Canbra Foods, Ltd., Dow Agrosciences, LLC              and
                     Dow Agrosciences Canada, Inc.
  Case No.           03 1209-
  Court:             United States District Court , District of Oregon
  Trial:             6/22/05

  Case Name:         Albemarle Corporation v. Great Lakes Chemical Corp.
  Case No.           02- 505- M3 & 02- 506- M3 (consolidated) (M. D. La)
  Court:             United States District Court , Eastern District of Virginia , Alexandria Division
  Deposition:        11/3/05

  Case Name:         St. Paul Companies v. Birch
  Case No.           01- 10327RBC
  Court:             United States District Court, District of Massachusetts
  Trial:             1/18/06

  Case Name:         Meritor Transmission Corporation v. Eaton Corporation
  Case No.           1 :04 cv 178
  Court:             Unitcd States District Court , District of North Carolina , Shelby Division
  Deposition:        1 1121 /05



  Case Name:         Gobeli Research, Ltd. v. Apple Computer Inc,        and   Sun MicroSystems, Inc.
  Case No.             04- CV - 149
  Court:             United States District Court , Eastern District of Texas , Marshall Division
  Deposition:        11/29/05

  Case Name:         Fisher Tool Co., Inc.,  et at. v. Gilet Outilage,   et at.
  Case No.           CV 04- 7550 ABC (SHx)
  Court:             United States District Court , Central District of California
  Deposition:        1/05/06

  Case Name:         ePlus, Inc. v. SAP AG,              et at.
  Civil Action No.   3 :05cv281
  Court:             United States District Court , Eastern District of Virginia
  Trial:             4/3/06

  Case Name:         Ronald D. Russo v. Ballard Medical Products , Kimberly- Clark Worldwide,
                     Inc., and Kimberly- Clark Corporation
  Case No.           2:05 cv 00059 TC
  Court:             United States District Court , District of Utah
  Deposition:        5/3/06
 Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 26 of 111 PageID# 657




   Case Name:          Certain Flash Memory Devices and Components Thereof, and Products
                       Containing Such Devices and Components
   Investigation No.   337- TA- 552
   Court:              United States International Trade Commission
   Deposition:         5/23/06

10. Case Name:         Fenner Investments, Ltd. v. Juniper Networks, Inc., UTStarcom, Inc., Nokia,
                       Inc., Nortel Networks Corporation, Lucent Technologies, Inc., and Cisco
                       Systems, Inc., Clark Worldwide, Inc., and Kimberly- Clark Corporation
   Case No.            2:05 cv 05 LD (Davis)
   Court:              United States District Court , Eastern District of Texas , Marshall Division
   Deposition:         7/11/06

11. Case Name:         Taltech Limited v. Esquel Enterprises, Ltd.
    Case No.           C04- 974Z
    Co urt:            United States District Court , Western District of Washington , Seattle Division
    Deposition:        7/19/06

12. Case Name:         Sanitec Industries , Inc. v. Micro- Waste Corporation
    Case No.           04- 3066
    Court:             United States District Court , Southern District of Texas , Houston Division
    Trial:             7/31/06

13. Case Name:         NetMoneyIN, Inc. v. VeriSign, Inc., et al.
    Case No.           01- 441 TUC- RCC
    Court:             United States District Court , District of Arizona
    Deposition:        8/23/06

14. Case Name:         Eaton Corporation v. ZF Meritor, LLC Arvin Meritor, Inc. and ZF
                       Friedrichshafen AG
    Case No.           74844
    Court:             United States District Court , Eastern District of Michigan
    Deposition:        8/3 1 /06

15. Case Name:         Aspex Eyewear, Inc., Chic Optic, Inc. and Contour Optik, Inc., v.
                       Safio USA, Inc.
    Case No.           04 Civ. 7473 (SHS)
    Court:             United States District Court , Southern District of New York
    Deposition:        1/17/07

16. Case Name:         Highway Equipment Company, Inc. v. Cives Corporation and Monroe Truck
                       Equipment, Inc.
    Case No.           C04- 147LRR
    Court:             United States District Court , Cedar Rapids District
    Deposition:        5/30/07


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17. Case Name:         02 Micro International Limited v. Samsung Electronics, Co. LTD., Samsung
                       Electronics America, Inc., Sam sung SDI Co., LTD., Samsung SDI America, Inc.
    Case No.           2:04- CY- 323 (Ward)
    Court:             United States District Court, Eastern District of Texas , Marshall Division
    Deposition:        2/12/07

18. Case Name:         CPI v. St. Jude Medical, Inc.,         et at.

    Case No.           04- 0067- SLR
    Court:             United States District Court , District of Delaware
    Deposition:        11/30/06

19. Case Name:         Med Immune Oncology v. Sun Pharmaceutical Industries
    Case No.           1 :04- CY - 02612- MJG
    Court:             United States District Court , District of Maryland
    Deposition:        3/9/07

20. Case Name:         Prometheus Laboratories, Inc. v. Mayo Collaborative Services dba Mayo
                       Medical Laboratories and Mayo Clinic Rochester
    Case No.           04 cv 1200 JAH (RBB)
    Court:             United States District Court , Southern District of California
    Deposition:        3/16/07

21. Case Name:         Armament Systems Procedures, Inc., v. IQ Hong Kong Limited, et al.
    Case No.           00- 1257
    Court:             United States District Court , Eastern District of Wisconsin
    Trial:             5/1/07

22. Case Name:         Enzo Biochem , Inc., Enzo Life Sciences, Inc., and Yale University v. Applera
                       Corp. and Tropix, Inc.
    Case No.             04CY - 929(JBA)
    Court:             United States District Court, District of Connecticut
    Deposition:        5/11/07

23. Case Name:         Schlindler Elevator Corporation and Inventio AG v. Otis Elevator Company
    Civil Action No.   06- CY- 05377 (RCe)
    Court:             United States District Court , Southern District of New York
    Deposition:        5/30/07

24. Case Name:         Arrow Communication Laboratories, Inc., and Tresness Irrevocable Patent
                       Trust v. John Mezzalingua Associates, Inc.
    Case No.           5:05- CY- 1456 (NAM/EP)
    Court:             United States District Court, Northern District of New York
    Deposition:        8/27/07

25. Case Name:         Sky Technologies, LLC v. Ariba, Inc.
    Case No.           06CA 11889
    Court:             United States District Court, District of Massachusetts
    Deposition:        8/31/07
                                                                                                160K407 .2
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26. Case Name:          Mobile Micromedia Solutions LLC v. Nissan North America, Inc.
    Case No.            5:05- CV- 230
    Court:              United States District Court , Eastern District of Texas , Texarkana Division
    Deposition:         9/5/07

27. Case Name:          TGIP , Inc. v. AT&T Corp., Verizon Communications, Inc., Bell Atlantic
                        Communications, Inc.               d/b/a    Verizon Long Distance, Verizon Select Services, Inc.
                        MCI , Inc., MCI Communications Services, Inc.                        d/b/a MCI, MCI Network
                        Services, Inc., Teleconnect Long Distance Services & Systems Company                      d/b/a
                        Telecom *USA, IDT Corporation , U. S. South Communications, Inc.                                  d/b/a

                        South and       d/b/a     Interactive Communications International Inc.                   a/k/a      Incomm
                        Pre Holdings, Inc. , Pre Solutions, Inc.
    Case No.               06 CV - 105
    Court:              United States District Court , Eastern District of Texas , Marshall Division
    Trial:              9/12/07

28. Case Name:          Amgen v. Ariad Pharmaceuticals, Harvard University, Massachusetts
                        Institute of Technology               and    Whitehead Technology
    Civil Action No.    06- 259- MPT
    Court:              United States District Court for the District of Delaware
    Deposition:         3/20/08

29. Case Name:          SmarTire Systems, Inc. v. Siemens VDO Automotive Corp., et al.
    Civil Action No.    1 :07-cv- 932
    Court:              United States District Court for the Eastern District of Virginia (Alexandria Division)
    Deposition:         3/4/08

30. Case Name:          Chemfree Corporation v. J. Walter , Inc.                          and     J. Walter Co., Ltd.
    Civil Action No.    1:04- CV- 3711- JTC
    Court:              United States District Court for the Northern District of Ohio , Eastern Division
    Deposition:         5/13/08

31. Case Name:          Sky Technologies LLC v. SAP AG, SAP America, Inc.         and Oracle Corporation
    Civ. Action No.     2:06-cv- 440-
    Court:              United States District Court for the Eastern District of Texas , Marshall Division
    Deposition:         5/16/08

32. Case Name:          In the Matter of Certain Ground Fault Circuit Interrupters and Products
                        Containing the Same
    Invcstigation No.   337- TA- 615
    Court:              United States International Trade Commission , Washington , DC
    Deposition:         6/4/08

33. Case Name:          In Re Certain digital Television Sets
    Investigation No.   337- TA- 617
    Court:              United States International Trade Commission
    Deposition:         6/29/08

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 Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 29 of 111 PageID# 660




34. Case Name:        Vaxiion Therapeutics v. Foley & Lardner
    Case No.          3:07-cv- 00280- IEG- RBB
    Court:            United States District Court , Southern District of California, San Diego
    Deposition:       7/8/08

35. Case Name:        Siemens AG v. Seagate Technology
    Case No.          SACV 06- 788- JVS (ANx)
    Court:            United States District Court for the Central District of California , Southern Division
    Deposition:       7/17/08
    Trial:            12/4/08

36. Case Name:        Verizon Services Corp., Verizon Communications, Inc., MCI
                      Communications Corporation,    and Verizon Business Global LLC v. Cox
                      FiberNet Virginia, Inc., Cox Virginia Telecom, Inc., Cox Communications
                      Hampton Roads LLC, CoxCom , Inc., and Cox Communications, Inc.
    Civ. Action No.   2:08 CV20-JBFITEM
    Court:            United States District Court for the Eastern District of Virginia
    Deposition:       7/31- 18/08

37. Case Name:        D. Yogi Goswami v. Universal Air Technology, Inc., a New Jersey
                      Corporation    and Lennox Industries, Inc., an Iowa corporation
    Case No.          01- 02- CA- I0l
    Court:            Eighth Judicial Circuit in and for Alachua County, Florida
    Trial:            9/11/08

38. Case Name:        New Medium LLC,                   A V    Technologies LLC, J. Carl Cooper, Pixel Instruments
                      Corporation, IP Innovation LLC,                   and Technology Licensing Corporation v.
                      Barco N. V., and Syntax- Brilian Corporation
    Case No.          05 C 5620
    Court:            United States District Court for the Northern District of Ilinois , Eastern Division
    Trial:            9/16/08

39. Case Name:        SuperSpeed, LLC v. IBM Corporation
    Case No.          2:07- CV- 089- TJW
    Court:            United States District Court for the Eastern District of Texas , Marshall Division
    Deposition:       4/8/09

40. Case Name:        Timothy & Thomas LLC v. Viral Genetics, Inc. and Haig Keledjian
    Case No.          06- CV- 1813
    Court:            Northern District oflllnois , Eastern Division
    Deposition:       5/6/09




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Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 30 of 111 PageID# 661




                  EXHIBIT B
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  95/000,487       ELECTRONIC SOURCING SYSTEM                                                07-17-
                                                                                             2009: :14 :29 :23
 Transaction History
 Date
  2009
 07- 10-
                  Transaction Description
                  Notice of Incomplete Reexam Request Received but no filing date accorded
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 07- 10-2009 Receipt of Original Inter Partes Reexam Request

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 Transaction History
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             Transaction Description
             Notice of Incomplete Reexam Request Received but no filing date accorded
 07- 23-2009 Certificate of Service
 07- 23-2009 Change in Power of Attorney (May Include Associate POA)
 07- 10-2009 Information Disclosure Statement (IDS) Filed
 07- 10-2009 Reexam - Information Disclosure Statement Filed by Third Party Requester
 07- 10-2009 Receipt of Original Inter Partes Reexam Request

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  2601.                         MANUAL OF PATENT EXAMINING PROCEDURE




                                  Int.,     Parts Reexamination (applh;able rule section)
                                                  PROCEDURE BEFORE APPEAL

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Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 35 of 111 PageID# 666




                                OPTIONAL INTER PARTES REEXAMINATION                                                                                   2601.01




                                               Int., Part.       Reexamination (applicable rul. .actlon)
                                                                APPEAL PROCEDURE
                                                         Single Third Part Requester



                                                              : RlllhtofAppealNotlce(1. 953) :
                                                                       (sets time for respnse
                                                                         30 daysone moth)


                                                                                                                 (10)


                                                                      \I a party d08 not fie a
                                                              notce of appaal II hisler opponent
                                                              does. th par may 'lie a Notice of                       (11 )
                                                             Cro.. Appeal (14 days after service of
                                                             oppant'     Notice 0' Appeal) (41. 61(b))




               If 3PR fies a notice 0' appeal or cross appeal,                                   II patent owner flies noUce 01 appeal or cross appeal,
                  3PR brlof is due 2 months 'rom last. fied , ::- ( 1                           , patent owner brief i& due 2 months Irom last- filed
                       notice 01 appeal or      cros appeal                                                      notic 01 appeal or cros appeal
                                                                                                                        (41. 66(a) & 41. 67)
                              (41. 66(s) & 41. 67)



                Patent owner re.pondent brief is duo                                                               3PR re.pondent bref is due
                  1 month from service of 3PR brie'                             (13)                         1 month from service of patent owner brie'
                         (41. 66(b) & 41. 68)                                                                           (41. 66(b) & 41. 68)




                 If examiner changs       poitn on any
                 rejectin or finding of pstentsty.
                 prosecution muat be reopene ,                   ."..mln8f . Answ                        i;14)
                                                                             66(c) & 41.



                                                                                    No change in oxamir s position




                                         3PR a_lIant                                   Patent OWner a_lIant
                                       may file reutl bref                                 may fi  reut   brief
                                              wihin 1 month of               (15)            wiin 1 month
                                              Examiners Maw.r                               Examiners Answe
                                                  (41. 71)                                        (41. 71)



                                                                                                       ( 16)

                                     F1o.vv Cfiart :,)11 paqe 260n.. (j is on"tittecl a
                                     applies only to reexaminations commenced
                                     :Jrlor                         :bf-;(        . 20U:

                                                                     2600-5                                                                    Rev. 5 . Aug. 200
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                                                           ,:. ;;;;,                                   . \              -. . -- -                 ..::.
Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 36 of 111 PageID# 667




                                              OPTIONAL INTER PARTES REEXAMINATION                                                                  2601.



                                       Inter Parte.          Reexamination (applicable rule section)
                    Procedure Following Board Decision for Reexaminations
                          Commenced    On or After November 2, 2002
                                       :8...............                           ............... 8


                                       : (41. 77(a)). afin andor reverse : :' 16)
                                                           (41, 77(b)). new ground of rejection

                                                                             ....... ... ........... rI


                     Patent OWner
                         and/or
                   3" Party Requester
                       Appeal to
                     F edaral Circuit
                         (1. 983(a))

                  (11)



                     i8)
                                                                                                                                                          (2:;;)


                                                                                                                                                          (24)


                                                                                                       Y.        "doat Declsl f41.791c               (25)
                       (20) : Examiner s Determination :                                                     . Is the 41. 79(d) Bd. Decon . in .
    (22)                                                                                                        .41-:-:. a neW Bd dec      tQ.
       Board Deasia"
   : (41. 77(1)) :
                                                                                                                    Patent OWner and/or
                                                                                                                 3'" Part Requester Appeal        (26)
                                                                                                                 to Fedaral Circuit (1. 983(a))




                                           Pat. Owner coments                                 Jn Party Raquastar comments

                                                                                (21 )
                                                                           (41. 7(e))




                Reexamination proceeding returned to Board




                                                                          2600-                                                         Rev. 5. Aug. 200
Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 37 of 111 PageID# 668




                  EXHIBIT
                              INTER PARTES REEXAMINATION TIME LINE (USE WITH MPEP FLOWCHART)

                 Step in      Inter Partes   Reexam                                  Relevant Statute or Rules                              Time Period
                               FlowChart
                 Request for Reexamination            37 CFR            1.913
                 filed
                 Reexamination ordered and            37 CFR            1.931 (Order for          inter partes   reexamination.        Issuance of initial
                 Initial Office action issued                                                                                          Office action ranges
                                                      37 CFR            1.935 (Initial Office Action may accompany the order
                                                      for    inter partes   reexamination.                                             from 13 days to 2.2
                                                                                                                                       years after
                                                                                                                                       Reexamination Order
                                                                                                                                       entered
                 Patent Owner Response                37 CFR            1.945                                                          1 to 2 months from
                                                                                                                                       date of Office Action
                 3rd Pary requester                   37 CFR            1.947                                                          30 days from date of
                comments                                                                                                               service of patent
                                                                                                                                       owner response
                Office Action issued                  37 CFR            1.949                                                          ranges from 0. 3 to 5.
                                                                                                                                       years
                 (if Offce Action closes              37 CFR           1.951 Options after Offce action closing prosecution in         Action closing
                prosecution                           inter partes      reexamination.                                                 prosecution (ACP)
                                                      (a) After an Office action closing prosecution in an              inter partes
                Patent Owner submits                                                                                                   sets time for response
                                                      reexamination , the patent owner may once fie comments limited to
                comments/amendments in                                                                                                 (typically 30 days or
                                                      the issues raised in the Office action closing prosecution. The
                response to Action closing                                                                                             1 month , whichever
                                                      comments can include a proposed amendment to the claims , which
                prosecution                           amendment wil be subject to the criteria of       116 as to whether or           is longer)
                                                      not it shall be admitted. The comments must be fied within the time
                AND/OR
                                                      set for response in the Office action closing prosecution.
                Patent Owner fies a Rule                                                                                               Petition that ACP is
                     181 petition                     MPEP           2672. VI. ACTION CLOSING PROSECUTION -                            premature: file
                                                      PREMATURE                                                                        within time set for
                                                      If the patent owner is of the opinion that the Office action closing
                                                                                                                                                                Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 38 of 111 PageID# 669




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                 Step in   Inter Partes   Reexam                          Relevant Statute or Rules                                 Time Period
                            FlowChart
                                                   prosecution in the     inter partes reexamination proceeding is premature   response to ACP.
                                                   the patent owner may, in addition to the comments submitted under 37
                                                   CFR 1.951(a), fie a petition under 37 CFR 1.181 within the time
                                                   period for filing the comments under 37 CFR 1.951(a).
                                                   MPEP          2672. 111. ACTION TAKEN BY EXAMIER
                                                   It should be kept in mind that a patent owner cannot, as a matter of
                                                   right , amend claims rejected in the ACP , add new claims after an ACP
                                                   nor reinstate previously canceled claims. A showing under 37 CFR
                                                      116(b) is required and wil be evaluated by the examiner for all
                                                   proposed amendments after the ACP , except where an amendment
                                                   merely cancels claims , adopts examiner s suggestions , removes issues
                                                   for appeal , or in some other way requires only a cursory review by the
                                                   exammer.

                 3rd Party Responding              37 CFR        1.951                                                         30 days from date of
                 comments AND/OR                   (b) When the patent owner does file comments , a third part requester       service of patent
                 response to Patent Owner          may once fie comments responsive to the patent owner s comments             owner response
                                                   within 30 days from the date of service of patent owner s comments
                                                   on the third part requester.
             I Rule 1.81 pettion
                                                   MPEP 2672. VI. ACTION CLOSING PROSECUTION -
                                                   PREMATURE
                                                   The third part requester may then once fie , as a paper separate fTom
                                                   any submission under 37 CFR 1.951(b), comments responsive to the
                                                   patent owner s petition under 37 CFR 1. 181 within 30 days from the
                                                   date of service of the patent owner s petition under 37 CFR 1. 181 on
                                                   the third   part requester.
                 Examiner considers                     1.953 Examiner s Right of Appeal Notice in            inter partes     ranges from 1.
                 comments. Examiner may            reexamination.                                                              months to 3. 5 years
                 then issue a Right of Appeal      (a) Upon considering the comments of the patent owner and the third
                 Notice.                           part requester subsequent to the Offce action closing prosecution in
                                                   an inter partes reexamination , or upon expiration of the time for
                                                   submitting such comments , the examiner shall issue a Right of Appeal
                                                                                                                                                      Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 39 of 111 PageID# 670




LIBW/1714585.1
                 Step in       Inter Partes   Reexam                        Relevant Statute or Rules                                   Time Period
                                FlowChart
                 Examiner may reopen                   Notice , unless the examiner reopens prosecution and issues another
                 prosecution.                          Offce action on the merits.

                                                       (b) Expedited Right of Appeal Notice: At any time after the patent
                                                       owner s response to the initial Offce action on the merits in an    inter
                                                       partes reexamination , the patent owner and all third part requesters
                                                       may stipulate that the issues are appropriate for a final action , which
                                                       would include a final rejection and/or a final determination favorable
                                                       to patentability, and may request the issuance of a Right of Appeal
                                                       Notice. The request must have the concurrence of the patent owner
                                                       and all third part requesters present in the proceeding and must
                                                       identify all of the appealable issues and the positions of the patent
                                                       owner and all third part requesters on those issues. If the examiner
                                                       determines that no other issues are present or should be raised , a Right
                                                       of Appeal Notice limited to the identified issues shall be issued.
                  (if Examiner does not reopen         37 CFR       1.953 (c) The Right of Appeal Notice shall be a final        ranges from 1.
                 prosecution                           action , which comprises a final rejection setting forth each ground of
                                      - J                                                                                        months to 3. 5 years
                                                       rejection and/or final decision favorable to patentability including each
                 Examiner issues Right of              determination not to make a proposed rejection , an identification of the
                 Appeal Notice (Final Offce            status of each claim , and the reasons for decisions favorable to
                 action)                               patentability and/or the grounds of rejection for each claim. No
                                                       amendment can be made in response to the Right of Appeal Notice.
                                                       The Right of Appeal Notice shall set a one-month time period for
                                                       either part to appeal. If no notice of appeal is fied , prosecution in the
                                                       inter partes reexamination proceeding will be terminated , and the
                                                       Director will proceed to issue and publish a certificate under 91. 997 in
                                                       accordance with the Right of Appeal Notice.
    10.          Either or both parties may            37 CFR     41.61 Notice of appeal and cross appeal to Board.                 within 1 month from
                 file a Notice of Appeal               (a)(l) Upon the issuance of a Right of Appeal Notice under 9 1. 953 of       Right of Appeal
                                                       this title , the owner may appeal to the Board with respect to the final     Notice
                                                       rejection of any claim of the patent by fiing a notice of appeal within
                                                       the time provided in the Right of Appeal Notice and paying the fee set
                                                       forth in 9 41.20(b)(1).
                                                                                                                                                          Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 40 of 111 PageID# 671




LIBW/1714585.l
                 Step in   Inter Partes   Reex                          Relevant Statute or Rules                                 Time Period
                            FlowChart

                                                  (a)(2) Upon the issuance of a Right of Appeal Notice under 9 1. 953 of
                                                  this title , the requester may appeal to the Board with respect to any
                                                  final decision favorable to the patentability, including any final
                                                  determination not to make a proposed rejection , of any original
                                                  proposed amended , or new claim of the patent by fiing a notice
                                                  appeal within the time provided in the Right of Appeal.
    11.          If a party does not fie a     37 CFR ~ 41.61                                                                 14 days after service
                 notice of appeal and his/her  (b)(1) Within fourteen days of service of a requester s notice of appeal       of opponent's Notice
                 opponent does , the party may under paragraph (a)(2) ofthis section and upon payment of the fee set          of Appeal
                 file a Notice of Cross Appeal forth in 9 41. 20(b)( 1), an owner who has not fied a notice of appeal
                                                  may fie a notice of cross appeal with respect to the final rejection of
                                                  any claim of the patent.

                                                  (b )(2) Within fourteen days of service of an owner s notice of appeal
                                                  under paragraph (a)(1) of this section and upon payment ofthe fee set
                                                  forth in 941.20(b)( 1), a requester who has not fied a notice of appeal
                                                  may fie a notice of cross appeal with respect to any final decision
                                                  favorable to the patentability, including any final determination not to
                                                  make a proposed rejection , of any original , proposed amended , or new
                                                  claim of the patent.
                                                  MPEP ~ 2674. Where a notice of appeal or notice of cross appeal is          1 month to cure
                                                  timely fied but is defective , e. , missing fee or missing portion of the   defects in timely- fied
                                                  fee , no proof of service is included , it is signed by an inappropriate    Notice of Appeal
                                                  part or is unsigned , failure to identify the appealed claims; 37 CFR
                                                  41.61(f) provides the appropriate part one opportunity to fie , within
                                                  a nonextendable period of one month , an amended notice of appeal or
                                                  cross appeal that corrects the defect(s).
    12.          Appeal Brief / Cross- Appeal     37 CFR ~ 41.66. Time for filing briefs.                                     2 months from last
                 Brief                            (a) An appellant's brief must be fied no later than two months from         filed notice of appeal
                                                  the latest filing date of the last- fied notice of appeal or cross appeal   or cross appeal
                                                    , if any par to the proceeding is entitled to fie an appeal or cross
                                                                                                                                                        Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 41 of 111 PageID# 672




LIBW/1714585.1
                 Step in      Inter Partes    Reexam                       Relevant Statute or Rules                                  Time Period
                               FlowChart
                                                       appeal but fails to timely do so , no later than two months from the
                                                       expiration of the time for fiing (by the last part entitled to do so)
                                                       such notice of appeal or cross appeal. The time for fiing an appellant'
                                                       brief or an amended appellant' s brief may not be extended.


     13.         Reply Brief                           37 CFR ~ 41.66(b). Once an appellant' s brief has been properly fied      due 1 month from
                                                       any brief must be fied by respondent within one month from the date       service of Appeal
                                                       of service of the appellant' s brief The time for fiing a respondent's    Brief
                                                       brief or an amended respondent' s brief may not be extended.
     14.         Examiner s Answer                     37 CFR ~ 41.66(c). The examiner wil consider both the appellant's         typically one to three
                                                       and respondent' s briefs and may prepare an examiner s answer under       months after receipt
                                                       941.69.                                                                   of respondent' s brief
     15.         (if Examiner does not change          37 CFR ~ 41.66(d). Any appellant may fie a rebuttal brief under 9         within 1 month after
                 position on any rejection             41.71 within one month of the date of the examiner s answer. The time     date of Examiner
                                                       for fiing a rebuttl brief or an amended rebuttal brief may not be
                 Either or both paries can fie                                                                                   Answer
                                                       extended.
                 Rebuttal Brief
                                                       37 CFR ~ 41.73(b). If an appellant or respondent desires an oral          within 2 months after
                  Request
                i (not shown  Oral
                          for in    Hearing
                                 flow char)            hearing, he or she must fie , as a separate paper captioned ' REQUEST     the date of
                                                       FOR ORAL HEARING " a written request for such hearing                     Examiner s Answer
                                                       accompanied by the fee set forth in 9 41.20(b)(3) within two months
                                                       after the date of the examiner s answer.
                 Oral Hearing Before BP AI                                                                                       within 6- 12 months
                 (not shown in flow char)                                                                                        after filing of request
                                                                                                                                 for oral hearing.
    16.          Board Decision                        37 CFR ~ 41.77 Decisions and other actions by the Board.                  ranges from 1.5 to 3.
                                                       (a) The Board of Patent Appeals and Interferences , in its decision , may years after issuance
                 The PTO' s Board of Patent
                                                       affirm or reverse each decision of the examiner on all issues raised on of Right of Appeal
                 Appeals and Interferences             each appealed claim , or remand the reexamination proceeding to the
                 (BP AI) may:                                                                                                    Notice
                                                       examiner for further consideration. The reversal of the examiner
                                                                                                                                                           Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 42 of 111 PageID# 673




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                Step in   Inter Partes   Reexam                          Relevant Statute or Rules                                   Time Period
                           FlowChart
                (1) affrm the Examiner             determination not to make a rejection proposed by the third part
                decision                           requester constitutes a decision adverse to the patentability of the
                                                   claims which are subject to that proposed rejection which will be set
                (2) reverse the Examiner           forth in the decision of the Board of Patent Appeals and Interferences
                decision                           as a new ground of rejection under paragraph (b) of this section. The
                (3) remand the proceeding to       affirmance of the rejection of a claim on any of the grounds specified
                                                   constitutes a general affrmance of the decision of the examiner on that
                Examiner for further
                                                   claim , except as to any ground specifically reversed.
                consideration
                (4) provide a new ground of        (b) Should the Board reverse the examiner s determination not to
                rejection                          make a rejection proposed by a requester , the Board shall set forth in
                                                   the opinion in support of its decision a new ground of rejection; or
                                                  i should the Board have knowledge of any grounds not raised in the
                                                                                             , it may include in its opinion a
                                                  I statement   rejecting
                                                    appeal for to that effect pending
                                                                          anywith its reasons
                                                                                        claim for so holding, which
                                                    statement shall constitute a new ground of rejection of the claim. Any
                                                    decision which includes a new ground of rejection pursuant to this
                                                    paragraph shall not be considered final for judicial review.
    17.         (If either party appeals to        35 U.   c. ~~ 141- 145.                                                       60 days after Board
                Fed Cir.                                                                                                         decision
                                                   35 U.   c. ~~ 141- 142.  When an appeal is taken to the United States
                Fed. Cir. appeal process           Court of Appeals for the Federal Circuit , the appellant shall file in the
                                                   Patent and Trademark Offce a written notice of appeal directed to the
                                                   Director, within such time after the date of the decision from which the
                                                   appeal is taken as the Director prescribes , but in no case less than 60
                                                   days after that date.
                Fed. Cir. sets schedule for
                briefing and argument
                (not shown in flow chart)
                Fed. Cir. decision                                                                                               Median is 8. 9 months
                (not shown in flow chart)                                                                                        from docketing date
                                                                                                                                 to disposition date.
                                                                                                                                                         Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 43 of 111 PageID# 674




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                                                                               ...




                Step in   Inter Partes   Reexam                               Relevant Statute or Rules                               Time Period
                           FlowChart
                                                                                                                                See   Ex. C.

    18.         (If Board decision is not final 37 CFR ~ 41.77(b)             When the Board makes a new ground of within 1 month of
                for judicial review-              rejection , the owner , within one month from the date of the decision Board Decision
                                                  must exercise one of the following two options with respect to the new
                 Patent Owner amendment           ground of rejection to avoid termination of the appeal proceeding as to
                 and/or showing of new            the rejected claim:
                evidence                          (1)   Reopen prosecution.          The owner may file a response requesting
                                                  reopening of prosecution before the examiner. Such a response must
                                                  be either an amendment of the claims so rejected or new evidence
                                                  relating to the claims so rejected , or both.
                                                  (2) Request rehearing.        See below.
    19.           Party Requester                 37 CFR ~ 41.77(c).     Where the owner has fied a response requesting         within 1 month of
                comments                          reopening of prosecution under paragraph (b)(1) of this section , any         service of patent
                                                  requester , within one month of the date of service of the owner              owner s response
                                                  response , may once fie comments on the response. Such written
                                                  comments must be limited to the issues raised by the Board' s opinion
                                                  reflecting its decision and the owner s response. Any requester that
                                                  had not previously fied an appeal or cross appeal and is seeking under
                                                  this subsection to fie comments or a reply to the comments is subject
                                                  to the appeal and brieffees under 9 41.20 (b)(1) and (2), respectively,
                                                  which must accompany the comments or reply.
    20.         Examiner s Determination          37 CFR ~ 41.77(d).     Following any response by the owner under              indeterminate (no
                                                  paragraph (b)(1) of this section and any written comments from a              inter partes
                                                  requester under paragraph (c) of this section , the proceeding wil be         reexamination has
                                                  remanded to the examiner. The statement of the Board shall be binding         progressed this far)
                                                  upon the examiner unless an amendment or new evidence not
                                                  previously of record is made which , in the opinion of the examiner
                                                  overcomes the new ground of rejection stated in the decision. The
                                                  examiner wil consider any owner response under paragraph (b)(1) of
                                                  this section and any written comments by a requester under paragraph
                                                  (c) of this section and issue a determination that the rejection is
                                                  maintained or has been overcome.
                                                                                                                                                       Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 44 of 111 PageID# 675




LIBW/1714585.
                              Inter Partes   Reexam                            Relevant Statute or Rules                                   Time Period
                I Step in       FlowChart
     21.         Either party comments & the          37 CFR ~ 41.77(e). Within one month of the examiner                           comments within
                 other party replies                  determination pursuant to paragraph (d) of this section , the owner or        month of examiner
                                                      any requester may once submit comments in response to the                     determination;
                                                      examiner s determination. Within one month of the date of service of
                                                      comments in response to the examiner s determination , the owner and          plus
                                                      any requesters may fie a reply to the comments. No requester reply
                                                                                                                                    reply within 1 month
                                                      may address the comments of any other requester reply. Any requester
                                                      that had not previously fied an appeal or cross appeal and is seeking
                                                                                                                                    of comments
                                                      under this subsection to fie comments or a reply to the comments is
                                                      subject to the appeal and brief fees under 9 41. 20(b)(l) and (2),
                                                      respectively, which must accompany the comments or reply.
    22.          Reexamination proceeding             37 CFR ~ 41.77(1). After submission of any comments and any reply             returned to Board
                 returned to Board for Board          pursuant to paragraph (e) of this section , or after time has expired , the   upon comments and
                 Decision                             proceeding wil be returned to the Board which shall reconsider the            reply, or after
                                                      matter and issue a new decision. The new decision is deemed to incor-
                                                                                                                                    expiration of 1-
                                                      porate the earlier decision , except for those portions specifically
                                                      withdrawn.
                                                                                                                                    months

                  (Loop back to Step (I      6)       37 CFR ~~ 41.77(a), 41.77(b).                                                 see   time periods
                 Board Decision above
                                                                                                                                    above for BPAI
                                                                                                                                    review


    23.          (Alternative option after any        37 CFR ~ 41.79 Rehearing.                                                     within 1 month of
                 Board Decision -J                    (a) Parties to the appeal may fie a request for rehearing of the decision     Board Decision
                                                      within one month of the date of:
                 Patent Owner and/or 3
                                                           (1)The original decision of the Board under 9 41. 77(a),
                 Pary Requester Request for                (2)The original 9 41. 77(b) decision under the provisions of 9
                 Rehearing                                 41. 77(b )(2),

                                                           (3)The expiration of the time for the owner to take action under 9
                                                           41. 77(b )(2), or
                                                           (4)The new decision of the Board under 9 4 1. 77(f).
                                                                                                                                                           Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 45 of 111 PageID# 676




LIBW/1714585.
    24.         Opposing Party s Comments                                                                                      within 1 month of
                                              137 CFR ~ 41.79(c) Within one month ofthe date of service of any
                                                                                                            , or any further   Request for
                                              I request
                                                request for
                                                         for rehearing under paragraph
                                                             rehearing under paragraph (a)
                                                                                        (d) of
                                                                                            of this
                                                                                               this section
                                                                                                    section , the owner        Rehearing
                                                and all requesters may once fie comments in opposition to the request
                                                for rehearing or the further request for rehearing. The comments in
                                                opposition must be limited to the issues raised in the request for
                                                rehearing or the further request for rehearing.
                                                (e) The times for requesting rehearing under paragraph (a) of this

                                                section , for requesting further rehearing under paragraph (c) of this
                                                section , and for submitting comments under paragraph (b) of this
                                                section may not be extended.
    25.         Board Decision                  37 CFR ~ 41. 79( d) If a part to an appeal fies a request for rehearing        indeterminate (no
                                                under paragraph (a) of this section, or a further request for rehearing        inter partes
                                                under this section , the Board shall render a decision on the request for      reexamination has
                                                rehearing. The decision on the request for rehearing is deemed to              progressed this far)
                                                incorporate the earlier opinion reflecting its decision for appeal , except
                                                for those portions specifically withdrawn on rehearing and is final for
                                                the purpose of judicial review , except when noted otherwise in the
                                                decision on rehearing.
    26.                                         37 ~ 41.79(d) ... If the Board opinion reflecting its decision on              see time periods set
                (If Board's decision on
                rehearing is not a new          rehearing becomes , in effect , a new decision , and the Board so              forth above for
                decision
                                                indicates , then any part to the appeal may, within one month of the           rehearing and/or Fed.
                           - J
                                              . new decision , fie a further request for rehearing of the new decision         Cir. appeal
                Appeal to Fed. Cir.             under this subsection. Such further request for rehearing must comply
                                                with paragraph (b) of this section.
                (If Board's decision on
                rehearing becomes a new
                decision, loop back to Step
                (23) Request for RehearingJ
                                                                                                                                                       Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 46 of 111 PageID# 677




LIBW11714585.
Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 47 of 111 PageID# 678
Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 48 of 111 PageID# 679


           United States Court of Appeals for the Federal Circuit
                                  Caseload Analysis FY 2007 - FY 2008


                                                                FY 2008                  FY 2007
                                                             12 Months Ending         12 Months Ending
                                                                9/30/2008                9/30/2007             % Change

  FILINGS

  Total Filings                                                    1459                     1545
     District Court                                                 459                      439
      Court of Federal Claims                                       205                      188
      Court of Appeals for Veterans Claims                          170                      319                  46.
      Court of International Trade                                                                                32.
      Merit Systems Protection Board                                419                      389
      Patent & Trademark Offce                                                                                    57.
      Boards of Contract Appeals                                                                                  50.
      International Trade Commission                                                                              36.
      Department of Veterans Affairs
      Office of Compliance                                                                                        75.
      Writs                                                                                                       10.

  Total Filings per Panel                                          365                       386                   5.4%

  TERMINA nONS

  Total Terminations                                              1745                      1718
     District Court                                                478                       504                   5.2%
     Court of Federal Claims                                        177                      185                   4.3%
     Court of Appeals for Veterans Claims                          478                       387                  23.
     Court of International Trade                                                                                 18.
     Merit Systems Protection Board                                420                       436
     Patent & Trademark Offce                                                                                     13 0%
     Boards of Contract Appeals                                                                                   20.
     International Trade Commission                                                                               11.%
     Department of Veterans Affairs                                                                               25.
     Office of Compliance                                                                                        300.
     Writs                                                                                                        28.

 Total Terminations per Panel                                      436                       430                   1.4%

I Filings: Total number of appeals (including cross- and consolidated appeals) docketed or reinstated during the 12-
 month review period.
2 Per panel figures are calculated by dividing by four (the number of three-judge panels of authorized judgeships for the
 court).

. Terminations: Total number of appeals (including cross- and consolidated appeals) terminated during the 12-month
  review period.
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                                                                   United States Court of Appeals for the Federal Circuit
                                                                                  Caseload Analysis FY 2007 - FY 2008
                                                                                                                  Page 2




                                                              FY 2008                   FY 2007
                                                           12 Months Ending         12 Months Ending
                                                              9/30/2008                9/30/2007             % Change

 Total Merits Terminations                                        716                      797                  10.
    District Court                                                208                      234                   11.%
    Court of Federal Claims                                                                 113                 24.
    Court of Appeals for Veterans Claims                          107                                           37.
    Court of International Trade
    Merit Systems Protection Board                                228                      265                  14.
    Patent & Trademark Offce                                                                                    40.
    Boards of Contract Appeals                                                                                  50.
    International Trade Commission                                                                             233.
    Department of Veterans Affairs                                                                              50.
      Offce of Compliance                                                                                      200.
      Writs                                                                                                    100.

 Percentage of Merits Terminations Orally Argued:               61.                       62.

 Dispositions:
    FCR 36 Summary Orders                                         129                      179                  27.
    Other Non- Precedential Opinions                              346                      353
    Precedential Opinions                                         241                      265

 Percentage Non- Precedential Dispositions:                     66.                       66.

 CASE EVENT TIMELINES

 Median Time:    Docketing to Disposition
      All Appeals                                              8.4 months                 6 months
      Merits Dispositions                                        0 months                 1 months
 Median Time:    Calendar to Disposition
      All Merits Dispositions                                   6 months                1. 7 months


4 Merits Terminations: Dispositions by three-judge merits panels or by the court en banc based on the merits of a case
 after presentation in briefs pursuant to FRAP 28. Excludes cross- and consolidated appeals and dispositions by motions
 panels.

5 Percentage of Merits Terminations Orally Argued: Most appeals where the parties are represented by counsel are
 argued orally. Pro se appeals are not argued orally.

(, Median Time Docketing to Disposition: Median number of months between docketing and disposition for appeals
 terminated during the 12-month review period.

7 Median Time Calendar to Disposition: Median number of months between oral argument or submission on the briefs
 and disposition for appeals terminated during the 12-month review period.
                         United States Court of Appeals for the Federal Circuit
                             Median Time to Disposition in Cases Terminated After Hearing or Submission
                                                        Docketing Date      to Disposition Date , in Months


                                                                                                                                      Overall
                                                                                                                                      Median
                                              FY99       FYOO      FY 01      FY02    FY03     FY04     FY05    FY06   FY07   FY08   per Origin


District Court                                 11.        12.       13.        12.     11.      11.      11.    11.    11.    11.      11.
Court of Federal Claims                        10.        11.4      12.        11.4             11.      11.    10.    10.             10.
Court of International Trade                   12.        13.       14.        14.     11.      12.      11.    11.    11.    12.4     12.4
Court of Appeals Veterans Claims                          10.       11.        12.     10.      10.             8.4    8.4
Board of Contract Appeals                      12.        13.       12.        11.     12.               10.    11.    10.4            11.
Department of Veterans Affairs                  n/a       15.       19.        11.     13.      n/a      14.4   13.    11.             14.
International Trade Commission                 11.        24.                  n/a     17.      16.      16.4   15.    13.    14.4     15.
Merit Systems Protection Board                            7.2                                                          6.4
Office of Compliance                           12.                  10.        n/a     19.      10.     13.     14.    n/a    19.      13.
Patent and Trademark Offce                                10.       10.        10.                      10.     10.

Overall Median per Fiscal Year                            10.       11.2       10.              10.




1 Excludes cross and
                       consolidated appeals , writs , and OPM petitions
2 Calculated from Date
                        of Docketing or Date of Reinstatement , whichever is later
                                                                                                                                                  Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 50 of 111 PageID# 681
Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 51 of 111 PageID# 682
7/16/2009                                                                                                                                            Inter Partes Reexam Statistics




                                       Ordered
                                       Ordered
                                       Ordered                                                            2/23/2009
                                       Ordered
                                       Ordered                              2/8/2005                      4172009

 95/000, 006     12/4/2002   6357595   Ordered    2/6/2003     2/6/2003    10/7/2003          3/2/2004    12/9/2004   3/26/2007
 95/000 007     12/16/2002   6339455   Ordered   3/12/2003    3/12/2003    9/30/2005         4/17/2008
 95/000, 008    12/20/2002   6428113   Ordered   2/25/2003    2/25/2003    12/17/2003        9/22/2005

 95/000, 009     1/8/2003    6399670   Ordered   4172003                    4/7/2003         7/21/2003    6/26/2005   3/27/2007                                       4/7/2009
 95/000 010     3/12/2003    6375169   Oraered   6/11/2003                 5/25/2004         10/4/2005    9/27/2007   3/27/2009                         7/14/2009
 95/000, 012     5/8/2003    6502477   Ordered   7/22/2003                 5/26/2004         2/17/2006
 95/000, 013    5/15/2003    6440481   Oraered   7/29/2003                 7/19/2005         2/15/2006                                                               7/17/2007
 95/000 014     5/16/2003    6466690   Ordered   7/18/2003                  3/6/2006         1/31/2008                                                               11/18/2008
                                                                                                                                     Examiner
 95/000, 01 5   5/20/2003    6450477   Ordered   7/29/2003                 4/12/2005         9/12/2005    5/2/2007    12/4/2008      Reversed
                                                                                                                                     Examiner
95/000, 017 5/20/2003        6250605   Ordered   7/29/2003    7/29/2003    4/12/2005         9/12/2005    5/2/2007    12/4/2008   Affirmed in Part
95/000, 016 5/21/2003        6376217   Ordered    8/8/2003     8/8/2003    12/12/2005        10/5/2007                                                                6/3/2008
95/000, 020 5/29/2003        6317592   Ordered   8/26/2003    9/28/2005     2/1/2006         12/8/2006    8/24/2007
95/000, 018 5/30/2003        6386642   Ordered   8/20/2003    8/20/2003    11/24/2004        9/14/2005    9/28/2007
95/000, 021  6/6/2003        6260984   Ordered   8/22/2003    8/22/2003                                                                                  8/6/2008     1/4/2008
95/000, 022  6/6/2003        6318873   Ordered   8/22/2003    8/22/2003                                                                                  8/6/2008    11/4/2008
95/000, 023 7/17/2003        6354304   Ordered    10/8/2003   1 0/8/2003   9/26/2005         11/13/2006                                                 4/14/2008    7/22/2008
95/000 024 7/21/2003         6524031   Ordered   10/16/2003   10/16/2003   5/17/2005         11/25/2005                                                 12/5/2007    3/18/2008
95/000, 025  8/4/2003        6293319   Ordered   10/15/2003   6/16/2004    9/1 5/2005         1/24/2007
95/000, 026  9/3/2003        6571920   Ordered   11/24/2003   11/24/2003   5/17/2005         9/15/2005                                                  4/26/2006    9/26/2006
95/000 027 10/10/2003        6577102   Ordered    1/6/2004     1/6/2004    5/10/2006                                                                    9/28/2007     1/1/2008
95/000, 028 11/13/2003       6580501   Ordered   1/20/2004    1/20/2004     2/3/2005         10/20/2005
95/000, 029 11/14/2003       6624263   Ordered   1/21/2004    1/21/2004    9/21/2006         4/19/2007

95/000, 030      12/3/2003 6508393     Ordered   2/24/2004    2/24/2004    3/17/2005         9/30/2005    7/18/2006
95/000, 031     12/10/2003 6296304     Ordered    3/4/2004    5/12/2004    4/19/2006
95/000 032      12/31/2003 6330476     Ordered   3/23/2004    3/23/2004     9/4/2007         7/16/2008
95/000, 033      1/6/2004  6644184     Ordered   4/5/2004      7/8/2004
95/000, 034      2/9/2004 0467247      Ordered   5/4/2004      5/4/2004    12/22/2004        11/2/2007    7/10/2008

95/000, 035      2/9/2004    6471127   Ordered    5/4/2004     5/4/2004     2/8/2006          6/6/2007    2/29/2008
95/000, 036     2/20/2004    6656011   Ordered   5/19/2004    5/19/2004    5/20/2005         9/19/2008
95/000, 037     2/25/2004    6444872   Ordered   5/19/2004    5/19/2004


95/000, 038     2/27/2004    6527941   Ordered   5/4/2004     5/4/2004     12/14/2005        4/6/2006     2/20/2007
95/000, 039     4/16/2004    6588390   Ordered   7/1 3/2004   7/13/2004    3/17/2008        10/20/2008                                                               4/21/2009
                                                                                                                                                                                      Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 52 of 111 PageID# 683




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7/16/2009                                                                                                                                     Inter Partes Reexam Statistics




         No. Filng Date                                                                                                          Terminated

 95/000, 040   4/21/2004              Ordered                                                                                                    11/26/2007   3/11/2008
 95/000, 041   5/3/2004               Ordered                                                                                                     1/10/2006   6/19/2007
 95/000, 042   5/14/2004              Ordered                             8/19/2008         12/9/2008                                            3/25/2009    6/16/2009
 95/000 043    5/26/2004              Ordered                             4/11/2005         1/12/2006
 95/000, 044   6/3/2004               Ordered                              4/7/2006         3/13/2008                                            8/25/2008     12/2/2008

95/000, 045 6/4/2004   6681652        Ordered   8/25/2004    8/25/2004     2/7/2006         5/24/2006
95/000, 046 6/5/2004   6490737        Ordered   8/31 /2004   8/31 /2004   9/27/2007         5/4/2009
95/000, 047 6/24/2004 6520401         Ordered   9/16/2004    9/1 6/2004    8/2/2005         11/1/2005                                             3/3/2006    8/22/2006
95/000 048 8/23/2004 6343901          Ordered   11/18/2004   11/18/2004   9/27/2007         2/26/2008
95/000, 049 8/27/2004 6651618         Ordered   11/23/2004   11/23/2004   9/22/2005         9/25/2007                                            12/5/2008    2/24/2009
95/000, 050 9/17/2004 6688280         Ordered   12/10/2004   12/10/2004   9/22/2005                                                              3/10/2009     6/2/2009
95/000, 051 9/23/2004 6518733         Ordered   1 2/8/2004   1 2/8/2004   5/20/2008         12/19/2008
95/000 052 9/23/2004 6636021          Ordered   1 2/8/2004    12/8/2004   1 /26/2007        11/10/2008                                           6/4/2009
95/000, 053 9/30/2004 6425407         Ordered   12/14/2004    3/8/2006    9/29/2006         9/12/2007                                            1/26/2009     5/5/2009
95/000, 054 10/13/2004 6303978        Ordered    1/11/2005   6/29/2005    12/22/2008        7/14/2009
95/000, 056 10/13/2004 6641334        Ordered   12/16/2004   6/13/2005    2/23/2007                                                              2/4/2008     5/20/2008
95/000, 055 10/14/2004 6381 942       Ordered   12/21/2004   12/21/2004    6/3/2005          7/8/2006                                            10/1/2007    4/15/2008
95/000, 057 10/18/2004 6769440        Ordered    1/12/2005   9/28/2006    9/12/2007         11/21/2008                                           1/26/2009    4/28/2009
95/000, 058 10/28/2004 6551415        Ordered    1/12/2005   9/28/2006    4/11/2007         9/19/2007                                            1/26/2009    4/18/2009
95/000, 059 11/2/2004 661 6382        Ordered    1/28/2005   1 /28/2005                                                                          2/5/2008      5/6/2008
95/000, 060 11/15/2004 6679619        Ordered    2/3/2005     2/3/2005    1/16/2009         6/12/2009
95/000, 061  12/1/2004 6575260        Ordered   2/28/2005     3/9/2006    9/25/2007          1/8/2009                                            3/26/2009     6/9/2009
95/000, 062 12/3/2004 6653104         Ordered   2/28/2005    3/17/2005    12/5/2008
95/000, 063 12/3/2004 6573875         Ordered   2/28/2005     5/3/2005    1/23/2009
95/000, 069 1 2/3/2004 6789673        Ordered   2/28/2005    4/21/2005     2/2/2006         11/17/2006    9/5/2008
95/000, 064 12/6/2004 6767487         Ordered    3/2/2005     3/2/2005    9/12/2005         4/17/2006    11/19/2007
95/000, 065 12/8/2004 6155906         Ordered   3/72005      3/15/2005    1/23/2009
95/000. 066 12/17/2004 6789673        Ordered   2/28/2005    4/21/2005     2/2/2006         11/17/2006    9/5/2008
95/000 067 12/20/2004 6554446         Ordered   3/21/2005    3/21/2005    5/15/2009
                                                                                                                      Examiner
95/000, 068    12/27/2004   6531537   Ordered    3/8/2005     3/8/2005    9/29/2006         9/18/2007    4/1
95/000 070      1/7/2005    6553611   Ordered   3/15/2005    3/15/2005
95/000. 071    1/26/2005    6330941   Ordered    4/5/2005     4/5/2005     6/7/2006         9/25/2007
95/000 072     1 /26/2005   6523680   Ordered   4/18/2005    4/18/2005     6/7/2006         9/25/2007
95/000, 073    1/31/2005    6720005   Ordered   4/21/2005    4/21/2005    7/18/2006         7/16/2007
95/000, 074    1/31/2005    6680306   Ordered   4/12/2005    4/12/2005
95/000 075      2/1/2005    6718359   Ordered   4/19/2005    4/19/2005    9/26/2005          2/3/2006
95/000, 076    2/17/2005    6578736   Ordered    4/5/2005    5/26/2006    9/17/2007         2/25/2008
95/000 077     2/18/2005    6715639   Ordered    4/5/2005    5/26/2006    9/17/2007         2/25/2008
95/000, 078    2/23/2005    6671223   Ordered   5/19/2005    5/19/2005    10/2/2007         9/29/2008
95/000, 079    2/28/2005    644283    Ordered   5/11/2005    5/11/2005    11/9/2005          5/8/2009
95/000, 080     3/1/2005        120   Ordered   5/11/2005    5/11/2005    9/5/2008          3/9/2009
95/000 081      3/3/2005              Ordered   5/18/2005    9/20/2005     1/4/2007
95/000, 082     3/7/2005    0471672   Denied    5/11/2005
95/000. 083    3/7/2005     0478188   Denied    5/11/2005
                                                                                                                                                                               Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 53 of 111 PageID# 684




                                                                                       Page 2 of 16
7/16/2009                                                                                                                                      Inter Partes Reexam Statistics




                                                                          Action Closi
                                                                           Prosecutio

 95/000, 084   3/21/2005   6543505    Ordered    6/3/2005     6/3/2005      7/2/2007
 95/000 085    3/29/2005   6872152    Ordered    6/3/2005     6/3/2005      1/25/2007
 95/000, 086    4/1/2005   0467270    Ordered   6/72005       6/7/2005
 95/000, 087    4/5/2005   6528666    Ordered   6/10/2005    6/10/2005      11/14/2005
 95/000, 088   4/13/2005   6659866    Ordereo    6/1/2005     6/1/2005      9/25/2007
 95/000 089    4/15/2005   6643765    Ordered    6/1 /2005    6/1/2005       3/2/2006
 95/000, 090    5/2/2005   6298715    Ordered   7/18/2005    7/18/2005       7/2/2007
 95/000 091     5/2/2005   6377066    Ordered   7/29/2005    7/29/2005
 95/000, 092    5/5/2005   6611662    Ordered   6/29/2005    6/29/2005       3/4/2008
 95/000 093    5/17/2005   6424333    Ordered   8/17/2005
 95/000 094    5/19/2005   6275213    Ordered   8/1 7/2005
 95/000 095    5/23/2005   6689336    Ordered   7/1 2/2005   7/12/2005
 95/000, 097    6/6/2005   6864766    Ordered   9/1/2005                    1 0/25/2005
 95/000, 096   6/10/2005   6723412    Ordered   8/16/2005    8/16/2005       2/2/2006
 95/000 098    6/10/2005   6729932    Ordered   7/29/2005    7/29/2005      12/19/2005
 95/000, 099   6/13/2005   6565088    Ordered   9/2/2005      9/2/2005       2/5/2009
 95/000, 100   6/28/2005   6725356    Ordered   9/8/2005      9/8/2005      3/19/2009
 95/000, 101   6/30/2005   6695135    Denied    9/22/2005
 95/000 102    7/28/2005   6341218    Ordered   9/14/2005    9/14/2005
                                                                                                                                   Allowance
95/000, 103     8/1/2005  6871356     Ordered   9/29/2005                   9/29/2005          2/17/2006               6/24/2009   Affirmed
95/000 104     8/12/2005 6612713      Ordered   9/28/2005    9/28/2005
95/000 105     8/17/2005 6387499      Ordered   10/18/2005   10/18/2005
95/000, 106    8/22/2005 6857712       Denied   11/16/2006
95/000, 107    8/22/2005 6547873       Denied    11/9/2005
95/000, 108    8/30/2005 6936104       Denied   10/20/2005
95/000 109      9/6/2005  6418532     Ordered   11/21/2005   11/21/2005     4/12/2006
95/000 110      9/8/2005  6833012     Ordered   11/17/2005   11/17/2005     6/28/2006
95/000, 111    9/16/2005 6116477      Ordered   11/22/2005   11/22/2005     4/21/2006
95/000, 112    9/20/2                 Ordered   11/17/2005   12/13/2005      1/8/2009
95/000, 113    10/19/2005   76290     Ordered   12/21/2005   12/21/2005     11/21/2007         9/26/2008
95/000, 114     11/4/2005 6712352     Ordered    1/23/2006   1/23/2006       8/3/2007          3/14/2008   6/10/2009
95/000, 116    11/23/2005 6553794     Ordered    1/25/2006    1/25/2006     5/22/2007          9/20/2007
95/000, 115    11/28/2005 6523333     Ordered    1/19/2006   1/19/2006      5/14/2009
95/000, 117    12/23/2005 0504126     Ordered    3/3/2006     3/3/2006
95/000 118     1/10/2006 6696316      Ordered   3/20/2006    3/20/2006      11/23/2007         4/11/2008   4/17/2009
95/000, 119    1/13/2006 6767247      Ordered    3/9/2006     6/8/2006      2/12/2008          9/26/2008
95/000, 120    1/172006    621 0293   Ordered    4/7/2006    2/27/2007      9/23/2008
95/000, 121    1/17/2006   6503156    Ordered    4/7/2006    2/27/2007      9/25/2008
95/000, 122    1/172006    6506130    Ordered    4/6/2006    1/30/2007       3/4/2008
95/000 123     1/17/2006   6595873    Ordered    4/6/2006    1/30/2007      6/25/2008
95/000, 124    1/23/2006   6838618    Ordered   4/13/2006    8/11/2006      6/19/2009
95/000, i 25   1/25/2006   6622355    Ordered    4/6/2006     4/6/2006      2/14/2009
95/000, 126    1/25/2006   6441496    Ordered   3/20/2006    3/20/2006      11/5/2007
95/000, 127    1/30/2006   6662956    Ordered   3/24/2006    3/24/2006      2/15/2008
95/000 128     2/1/2006    6840088    Ordered   4/14/2006    4/14/2006
                                                                                                                                                                                Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 54 of 111 PageID# 685




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7/16/2009
                                                                                                                          Inter Partes Reexam Statistics




95/000, 130     2//2006    6672059      Ordered     4/4/2006       4/4/2006
95/000, 129    2/10/2006   6377179      Ordered    4/1 3/2006     4/13/2006
95/000, 131    2/14/2006   6614729      Ordered    3/31/2006      3/31/2006
95/000, 132     3/3/2006   6808888      Ordered    4/24/2006      4/24/2006    11/6/2006           4/9/2007
95/000 133      3/9/2006   6685585      Ordered    5/12/2006      5/12/2006     8/9/2007          5/27/2008
95/000 134     3/10/2006   6769436      Ordered     5/2/2006       5/2/2006    4/18/2007
95/000, 135    3/13/2006   6951211      Ordered    5/26/2006      11/14/2006    1/5/2009
95/000, 136    3/14/2006   6299793      Ordered     5/5/2006       5/5/2006     2/9/2007         5/10/2008    4/15/2009
95/000, 137    3/20/2006   6830358      Ordered    6/7/2006        6/7/2006    9/30/2008         5/19/2009
95/000, 138    3/23/2006   6645742      Ordered    5/22/2006      5/22/2006    1/26/2007         11/29/2007    6/3/2008
95/000, 139    3/29/2006   6735874      Ordered    6/19/2006      6/19/2006    3/28/2008          1/8/2009
95/000, 140    3/30/2006   6757574      Ordered    6/1/2006        7/3/2006
95/000 141      4/3/2006   6427811      Denied     6/22/2006
95/000, 142    4/10/2006   6629840      Ordered    6/1 3/2006     6/13/2006
95/000 143     4/13/2006   7022332      Ordered    6/12/2006      6/12/2006    4/27/2007         1/16/2008
95/000, 144    4/14/2006   7001951      Ordered    6/16/2006      6/16/2006    4/11/2007         6/23/2008
95/000, 145    4/24/2006   6501966     Ordered     6/21/2006      6/21/2006     2/5/2008         1/26/2009
95/000, 152    5/10/2006   6673604     Ordered     7/27/2006      8/31/2006    2/13/2008
95/000, 171    5/19/2006   6594565     Ordered     10/16/2006     10/16/2006   10/22/2007
95/000, 146    6/19/2006   6838235     Ordered     8/30/2006      8/30/2006     3/8/2007         11/19/2007   6/10/2008
95/000, 150    6/26/2006   6846715     Ordered     8/30/2006      8/30/2006    11/21/2008        3/20/2009
95/000 153     7/171006    6753013     Ordered     9/1 3/2006     9/13/2006     9/5/2007         7/17/2008
95/000, 154     7/17/2006  7029913     Ordered     9/29/2006      3/30/2007    2/25/2008         6/20/2008
95/000, 172     7/18/2006  6685469     Ordered     1 0/1 3/2006   5/14/2007    9/24/2007          9/3/2008
95/000, 156     7/19/2006  6598564     Ordered     1 0/3/2006     10/3/2006    4/14/2008
95/000, 158     7/21/2006 651 8644     Ordered     1 0/6/2006     1 0/6/2006   3/21/2008                                                  1/13/2009
95/000 , 159    7/27/2006 0487627       Denied     10/24/2006
95/000, 160     7/28/2006 6221392      Ordered     9/13/2006      9/13/2006    9/18/2007         4/10/2008    4/1/2009
95/000, 161     7/28/2006 6543447      Ordered     10/25/2006     5/4/2007     3/23/2009         6/5/2009
95/000, 168     7/31/2006 7048472      Ordered     10/27/2006                                                                2/25/2008    7/15/2008
95/000, 176      9/6/2006   6890906    Ordered     11/15/2006                                                                5/22/2007    9/25/2007
95/000, 163     9/18/2006 6428371      Ordered     12/8/2006
95/000, 179     9/18/2006 6405669      Ordered     1 2/8/2006                   3/4/2008         6/23/2008                                1/6/2009
95/000, 165     9/21/2006 6550701      Ordered     11/1/2006
95/000, 180     9/28/2006 6750130      Ordered      1 2/7/2006                  5/1/2008         11/21/2008
95/000 1 83     10/4/2006 6182184      Ordered     1 2/26/2006
95/000, 193    10/17/2006 6697476      Ordered      1/10/2007
95/000, 197    11/22/2006 6366522      Ordered      2//2007
95/000, 198    11/22/2006 6633187      Ordered      2/3/2007                   10/22/2008                     6/12/2009
        200    11/29/2006 6994585      Ordered     2/22/2007                    6/7/2008
       199      12/1/2006 6988138      Ordered     2/24/2007                   4/15/2009
       201      12/8/2006 6763345      Ordered      3/1/2007                    1/5/2009         4/14/2009
        206    1 2/ 13/2006 6753035    Ordered      3/8/2007
        208    12/20/2006 6566285      Ordered     3/12/2007
95/000, 210      1/3/2007   7156100   Terminated
95/000, 211     1/8/2007    6961773    Ordered     3/23/2007
                                                                                                                                                           Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 55 of 111 PageID# 686




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7/16/2009                                                                                                   Inter Partes Reexam Statistics




95/000, 212     1/9/2007   7089224     Ordered     3/21/2007    5/29/2007
95/000 213      1/9/2007   7081 542    Ordered     3/30/2007    5/23/2007                                      2/13/2008     5/13/2008
95/000, 218    1/23/2007   RE39465     Ordered     4/12/2007    4/12/2007    2/29/2008         7/17/2008
95/000, 227    2/9/2007    643341 9    Ordered      5/4/2007     6/5/2007    2/19/2008         9/17/2008
95/000, 228   2/12/2007    6979117     Ordered      5/72007      5/7/2007
95/000, 229   2/15/2007    6465893     Ordered      5/4/2007     5/4/2007    2/15/2008         6/22/2009
95/000, 235   2/27/2007    6919001     Ordered     4/20/2007    4/20/2007
95/000, 237    3/6/2007    7105091     Ordered      5/72007      5/7/2007    4/24/2008         6/5/2009
95/000, 241   3/20/2007    6928852     Ordered     4/27/2007    4/23/2008    8/7/2008          12/5/2008       2/23/2009     5/26/2009
95/000, 246   3/22/2007    6756258     Ordered      6/5/2007    8/13/2007    5/14/2008         7/17/2008       9/23/2008     1/20/2009
95/000 247    3/30/2007    6432133     Ordered     4/24/2007     3/3/2008
95/000 253    4/11/2007    7189110     Ordered      7/6/2007     12/4/2007
95/000, 261    5/7/2007    6590220     Ordered     7/20/2007    8/16/2007    9/19/2008         3/24/2009
95/000, 258    5/8/2007    7195517     Ordered     7/20/2007     11/5/2007
95/000, 259   5/10/2007    6850464     Ordered      8/3/2007     8/3/2007    9/19/2008          4/6/2009
95/000, 262   5/10/2007    6554861     Ordered     7/16/2007    7/16/2007    9/18/2008
95/000, 263   5/17/2007    7067556     Ordered     7/31/2007    3/17/2008                                      12/30/2008    3/3/2009
95/000, 265   5/29/2007    7222614     Ordered      8/3/2007     8/3/2007
95/000 267     6/5/2007    7056954     Ordered     8/29/2007    8/29/2007     4/9/2008          10/1/2008      12/5/2008     3/3/2009
95/000, 257    6/8/2007    6430668     Ordered     8/22/2007    11/20/2007   6/24/2008          12/1/2008
95/000, 275   6/18/2007    6813699     Ordered     8/22/2007    11/19/2007   6/24/2008         11/28/2008
95/000 268    6/19/2007    7026164     Ordered     8/14/2007    8/14/2007     2/5/2008         6/24/2008
95/000, 269   6/21/2007    6829473     Ordered     8/16/2007    12/22/2008
95/000, 271   6/25/2007    6447485     Ordered     9/21/2007    9/21/2007
95/000 270    6/26/2007    7131819     Ordered     8/17/2007    5/19/2008
95/000, 272   6/27/2007    6630645     Ordered      8/2/2007     8/2/2007    5/19/2008
95/000, 276    7/9/2007    6924264     Ordered     10/3/2007    1/17/2008     3/5/2009
95/000, 273   7/10/2007    7178702     Ordered     9/26/2007    9/26/2007    11/19/2008        2/24/2009       4/24/2009
95/000 274    7/11/2007    6707264     Ordered      8/8/2007     6/5/2008    2/10/2009
95/000 278    7/12/2007    7065417     Ordered     9/28/2007    11/8/2007
95/000, 277   7/17/2007    6431983     Ordered     10/1/2007    2/29/2008     3/9/2009
95/000, 279   7/17/2007    6832958     Ordered     9/21/2007                 9/21/2007         4/17/2008
95/000, 280   7/17/2007    6620046     Ordered     9/14/2007    9/14/2007    9/26/2008         2/14/2009
95/000, 281    8/1/2007    6721178    Terminated
95/000, 282    8/2/2007    6514531     Ordered      11/1/2007    4/18/2008
95/000, 295    8/3/2007    6687745     Ordered     10/26/2007   9/15/2008
95/000, 284    8/6/2007    6733241     Ordered     10/16/2007   10/16/2007   1/1 6/2009
95/000, 283    8/7/2007    6501234     Ordered     10/26/2007   6/24/2008     6/5/2009
95/000, 289   8/21/2007    6974084     Ordered      11/9/2007    12/9/2008
95/000, 293   8/21/2007    6947702     Ordered     10/26/2007   10/26/2007   3/11/2009
95/000, 300   8/31/2007    7109042     Ordered     11/27/2007    2/7/2008     2/4/2009         5/14/2009
95/000, 292    9/4/2007    6910601     Ordered     11/14/2007   11/14/2007   2/23/2009
95/000 302    9/17/2007    6605308     Ordered     12/10/2007   12/10/2007   6/16/2008
95/001 005    9/19/2007    6905486     Ordered     12/10/2007   12/10/2007
95/001 006    9/19/2007    6853084     Ordered      11/5/2007    11/5/2007   12/23/2008
95/000. 303   9/21/2007    6857712      Denied     12/14/2007
                                                                                                                                             Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 56 of 111 PageID# 687




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7/16/2009                                                                                                            I nter Partes Reexam Statistics




                                                                                                        Terminated

 95/001 008    10/1/2007   6715020    Ordered   12/19/2007   2/15/2008
 95/000 304    10/5/2007   6640872    Ordered   12/14/2007   12/14/2007
 95/001 011   10/11/2007   6325414    Ordered    1m2008       5/6/2008
 95/001 012   10/11/2007   6942248    Ordered     1/9/2008    5/9/2008     1/7/2009         5/28/2009
 95/001 013   10/11/2007   6697295    Ordered     1/9/2008   8/25/2008    2/13/2009
 95/000 307   10/14/2007   7281 527   Ordered    12/4/2007    12/4/2007    4/3/2009
95/000, 309   10/19/2007   0484637    Ordered    1/16/2008    1/16/2008
95/000, 308   10/24/2007   6399002    Ordered   12/10/2007   12/10/2007    1/8/2009                      1/30/2009
95/000, 310   10/24/2007   6830766    Ordered    1/22/2008   7/23/2008    3/12/2009
95/000 311    10/24/2007   6827955    Ordered    1/22/2008   7/23/2008    3/12/2009         7/13/2009
95/000, 312   10/24/2007   7054547    Ordered     1/8/2008   3/21/2008     4/2/2009
95/000, 313   10/31/2007   6925469    Ordered    1/29/2008   2/13/2008    3/19/2009
95/000, 314    11/6/2007   0499385    Ordered    2/5/2008    3/13/2008     1/7/2009
95/000 315     11/6/2007   0491538     Denied    2/5/2008
95/000, 316    11/6/2007   D490784     Denied    2/5/2008
95/000, 317    11/6/2007   0503388    Ordered    2/5/2008    3/13/2008     1/9/2009
95/001 016    11/16/2007   72081 70   Ordered    1/24/2008    1/24/2008   6/25/2008         1/12/2009
95/000 320    11/21/2007   6870820    Ordered   12/28/2007   12/28/2007   10/16/2008        2/13/2009
95/000 321    11/21/2007   6785370     Denied   2/28/2008
95/000, 322   11/21/2007   6728345     Denied   2/11/2008
95/000, 323   11/21/2007   7010109    Ordered   2/12/2008    2/12/2008    11/10/2008        2/13/2009
95/000 326     12/4/2007   7214017    Ordered   2/27/2008    2/27/2008     3/9/2009
95/001 017     12/7/2007   7108689    Ordered    2/8/2008     2/8/2008    3/16/2009
95/001 018     12/7/2007   6928479    Ordered    3/4/2008    6/16/2008
95/000, 327   12/11/2007   7281842     Denied    3/3/2008
95/000, 329   12/17/2007   7278758    Ordered   2/12/2008    6/30/2008    3/27/2009
95/000, 330   12/17/2007   7236821    Ordered   1/30/2008    1/30/2008    4/17/2009
95/001 ,024   12/31/2007   6853714    Ordered   3/14/2008     9/5/2008    3/26/2009          7/6/2009
95/000, 337    1/4/2008    6805891    Ordered   2/29/2008    3/17/2008
95/000 332     1/8/2008    7228383    Ordered   3/11/2008    2/6/2009
95/000, 334   1/11/2008    6915823    Ordered   2/27/2008                 2/27/2008          9/5/2008
95/000, 335   1/11/2008    6877530    Ordered    3/7/2008      3/7/2008
95/000, 336   1/11/2008    7240699    Ordered   3/11/2008     3/11/2008   10/15/2008        2/18/2009
95/000, 338   1/15/2008    6922181    Ordered    4/2/2008      4/4/2008   3/27/2009         6/17/2009
95/000, 339   1/18/2008    7281 842   Ordered   3/28/2008     3/28/2008   4/10/2009
95/000 340    1/30/2008    7260447    Ordered   3/21/2008     3/21/2008   3/30/2009
95/001 028    1/30/2008    6991298    Ordered   2/27/2008    2/27/2008     6/5/2009
95/000, 341                6833016    Ordered   4/11/2008    4/11/2008
95/000, 342 2/1/2          7117902    Ordered   3/11/2008    3/11/2008    10/15/2008        2/18/2009
95/000 343   2/1/2                    Ordered   4/17/2008     12/4/2008
95/000, 344  2/6/2                    Ordered   4/16/2008    6/13/2008    4/27/2009
95/000, 345 2/11/2008      7017622    Ordered   4/23/2008    4/23/2008    3/30/2009          7/2/2009
95/000, 346 2/13/2008      6234853    Ordered   4/16/2008     5/2/2008
95/000 347 2/19/2008       7113152    Ordered    5/2/2008    12/19/2008
95/000, 348 2/19/2008      7113152    Ordered   5/10/2008    12/19/2008
95/000 349 2/20/2008       6873065    Ordered   4/29/2008    7/11/2008
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7/16/2009                                                                                                    Inter Partes Reexam Statistics




                                      Determi


 95/000, 351   2/21/2008   7096242      Omered        4/29/2008    5/27/2008    2/20/2009
 95/000, 352   2/21/2008   6763364      Ordered       5/2/2008     5/27/2008    2/20/2009
 95/000, 350   2/25/2008   7173922      Ordered       5/15/2008    5/16/2008
 95/001 033    2/27/2008   7310923      Ordered       4/1 7/2008   4/17/2008                                                 12/16/2008
                                                                                                                9/25/2008
 95/000 353    2/29/2008   6985748      Ordered       5/20/2008
 95/000 355    3/6/2008    6722674      Omered        5/2/2008      5/2/2008    3/6/2009
 95/000, 356   3/6/2008    7159280      Oraered       5/8/2008      5/8/2008
 95/000 354    3/7/2008    6763345      Ordered       5/14/2008     9/4/2008     1/5/2009                       5/29/2009
                                      Ordered After
 95/000 357    3/11/2008   7210744       Review       9/18/2008                  1/7/2009        5/1
 95/000 358    3/14/2008   661 5485     Oraered       6/12/2008    6/12/20      3/18/2009
 95/000, 359   3/19/2008    7121419     Oraered       4/1 7/2008   4/17/20       3/4/2009
 95/001 035    4/2/2008     6458681     Omered         6/6/2008     6/6/200
 95/001, 036   4/2/2008     7139404     Oraered       6/12/2008    3/11/20
 95/000, 361   4/72008      7004852     Ordered       6/19/2008    6/19/2008
 95/000, 362   4/72008      7189169     Ordered       6/19/2008    6/19/2008
 95/001 037    4/10/2008    7162458     Ordered       6/20/2008    6/20/2008
 95/001 ,038   4/17/2008   7276029      Omered        6/17/2008    6/17/2008    2/14/2009
 95/001 039    4/17/2008   6931327      0 ra ered     5/29/2008    5/29/2008
 95/000, 363   4/28/2008   6203754      Oraered       6/23/2008    6/23/2008
 95/000, 365   4/29/2008   6696017      Ordered       7/17/2008    7/171008
 95/001 041    4/29/2008   7301290      Omered        6/23/2008
 95/001 042    4/29/2008   6926609      Ordered       6/12/2008     7/8/2009
 95/000, 366    5/5/2008   7158861      Oraered       6/20/2008    6/20/2008
 95/001 043     5/8/2008   7117515      Ordered       7/24/2008    9/24/2008
 95/000, 367    5/9/2008   6306943      Ordered        7/2/2008     7/2/2008
 95/000, 368   5/14/2008   6748320      Ordered       7/21/2008    7/21/2008
 95/000, 369   5/14/2008   6904359      Omered        7/22/2008    7/22/2008
 95/000 370    5/21/2008   RE40216      Omered        7/14/2008    7/14/2008
 95/001 047    5/30/2008   7069235      Ordered       7/12/2008    7/12/2008
 95/001 ,048   5/30/2008   7216651      Ordered       8/4/2008     2/12/2009
 95/000, 376    6/3/2008   6805891      Ordered       8/1372
 95/001 049     6/3/2008   7231363      Ordered       8/22/2           2/2008
 95/000, 373    6/6/2008   7313720      Ordered       8/18/2          19/2008
 95/000, 374    6/6/2008   6970448      Ordered        8/6/2        8/6/2008
 95/000, 375    6/6/2008   6624648      Ordered        9/3/2        9/3/2008
 95/001 051     6/6/2008   6478711      Ordered       8/22/2008    8/22/2008
 95/001 052    6/11/2008   7189230      Ordered       9/10/2008    9/10/2008
. 95/001 056   6/17/2008   7360970      Ordered       7/18/2008    7/18/2008    3/26/2009        6/19/2009
 95/001 057    6/19/2008   7267675      Ordered       8/12/2008    8/12/2008
 95/000, 381   6/26/2008   6582622      Ordered       9/15/2008    9/15/2008
 95/000, 382   6/26/2008   6299793      Ordered        9/4/2008
 95/001 ,060   6/30/2008   6996561      Ordered        9/5/2008    11/13/2008   6/4/2009
 95/001 061    7/7/2008    6446045      Ordered       9/25/2008    9/25/2008
 95/000, 384   7/9/2008    6829672      Ordered       9/30/2008     11/3/2008
 95/001 062    7/9/2008    7229436      Ordered       9/26/2008    9/26/2008
                                                                                                                                              Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 58 of 111 PageID# 689




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7/16/2009                                                                                                                     Inter Partes Reexam Statistics




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Control No.
                                                                                                 Appeal Notice

 95/001 065     7/9/2008   7264730     Denied        10/8/2008
 95/001 068    7/14/2008   6829587     Ordered       1 0/9/2008
 95/001 069    7/21/2008   7249059     Ordered       10/17/2008    10/17/2008
 95/001 070    7/21/2008   6519629     Ordered       10/16/2008    10/31/2008
 95/001 071    7/23/2008   6737935     Ordered       8/28/2008      12/9/2008
 95/001 072    7/29/2008   6289975     Ordered       10/15/2008    10/15/2008
 95/001. 073   7/30/2008   7240025     Ordered       10/24/2008    11/21/2008
 95/000. 385   7/31/2008   6517510     Ordered       10/24/2008    10/24/2008
 95/000, 386    8/1/2008   7223236     Ordered       10/30/2008
                                     Ordered After
 95/000, 387   8/6/2008    7314328      Review       4/29/2009
                                     Ordered After
 95/000, 388   8/6/2008 7325994         Review       4/29/2009
 95/000 390    8/13/20086709694        Ordered       1 0/23/2008   1 0/23/2008
 95/000. 391   8/14/20086958423        Ordered       11/13/2008    1/26/2009
 95/000. 392   8/22/20087330276        Ordered       1 0/22/2008   3/20/2009
 95/000. 394   8/29/20086763345         Denied       11/28/2008
 95/001 077     9/2/20087376831        Ordered       11/28/2008    3/30/2009
 95/000 395     9/4/20086074454       Terminated                                                                 11/21/2008
 95/001. 078    9/4/20087193562        Ordered       11/28/2008                   11/28/2008        7/10/2009
 95/001 079     9/4/20087358912        Ordered        12/2/2008    3/19/2009 .
 95/001 081    9/12/20086493377       Terminated
 95/001.82     9/15/20086812009        Ordered       1 0/27/2008   10/27/2008     7/13/2009
 95/000. 396   9/23/20086516236        Ordered       11/20/2008     1/23/2009
 95/000 397    9/23/20086941543        Ordered       11/25/2008     1/29/2009
 95/000 398    9/23/20086513058        Ordered       11/25/2008     1/29/2009 .
 95/000400     9/25/20086763345         Denied       12/18/2008
 95/000403     9/26/20087411129        Ordered        12/5/2008     12/5/2008      7/1/2009
 95/001. 083   10/1/20086991483        Ordered       11/28/2008    11/28/2008
 95/001 085 1 0/2/2008 7097719         Ordered       12/12/2008
 95/001 086 1 0/2/2008 7225231         Ordered       11/28/2008     4/3/2009
 95/001 088 10/10/2008 6188988         Ordered         1/7/2009                   6/11/2009
 95/001. 089 10/13/2008 7035281        Ordered        1/12/2009                   3/26/2009
 95/000404 10/14/2008 6658035          Ordered       12/19/2008
 95/000405 10/16/2008 6687278.         Ordered       12/19/2008
 95/001 090 10/16/2008 6990910         Ordered        1/7/2009
 95/000406 10/20/2008 6654400          Ordered       12/19/2008
 95/000,407 1 0/21/2008 7140443        Ordered       1/1 4/2009
 95/001 091 10/24/2008 7360338         Ordered        12/9/2008
 95/001.095 10/24/2008 7300662         Ordered       12/31/2008
 95/001. 096 10/24/2008 721 7286       Ordered       12/22/2008
 95/001 097 10/24/2008 7223286         Ordered       12/19/2008    1/30/2009
 95/001 102 10/24/2008 7229473         Ordered         1/5/2009     1/5/2009
 95/000, 408 10/27/2008 6835887        Ordered        1/9/2009      6/1/2009
 95/000,409 10/27/2008 6369313         Ordered       1/1 2/2009    6/10/2009
 95/000,410 10/27/2008 6225547         Ordered       1/16/2009
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 95/001 103 10/29/2008    7390848     Denied     1/1 6/2009
 95/000 411  11/6/2008    6597854    Ordered     1/1 2/2009   1/12/2009     7/2/2009
 95/000, 412 11/6/2008    6868220    Ordered     1/12/2009    1/12/2009    7/13/2009
95/000,415 11/6/2008      6925242    Ordered     1/1 2/2009   1/12/2009    7/14/2009
95/001 104 11/6/2008      7421086    Ordered     1/27/2009    3/19/2009
95/001 105 11/6/2008      6751696    Ordered     1/9/2009     3/13/2009
95/001 106 11/6/2008      6266285    Ordered     1/9/2009     3/13/2009
95/001 107 11/72008       6314051    Ordered     1/9/2009     3/13/2009
95/001 108 11/7/2008      6584037    Ordered     1/9/2009     2/13/2009
95/000 416 11/10/2008     6496827   Terminated                                                        4/15/2009
95/001 109 11/11/2008     6546446    Ordered      1/9/2009    2/13/2009
95/001              008   7040500    Ordered      1/7/2009     1/7/2009
95/001 112 11/17/2008     6182184    Ordered     1/16/2009    3/20/2009
95/001              008   7048050    Ordered     1/30/2009    1/30/2009
95/001 114    1/18/2008   7219744    Ordered     2/6/2009     2/6/2009
95/001 ,115   1/18/2008   7004259    Ordered     1/30/2009    1/30/2009
95/001 116    1/18/2008   7281587    Ordered     2/ 13/2009   2/13/2009
95/001 117 11/18/2008     7213656    Ordered      1/30/2009   1/30/2009
95/001 118 11/18/2008     7100710    Ordered      1/30/2009   1/30/2009
95/001 119 11/18/2008     7353880    Ordered      2/6/2009    2/6/2009
95/001 120 i 1/18/2008    7228901    Ordered      1/30/2009   1/30/2009
95/001 121 11/18/2008     7128161    Ordered      1/30/2009   1/30/2009
95/001 122 11/20/2008     6426916    Ordered      1/16/2009   3/20/2009
95/001 123 11/21/2008     6871450    Ordered       1/7/2009    1/7/2009
95/001 124 11/24/2008     6452863    Ordered      1/16/2009   3/20/2009
95/000,418 11/25/2008     7377324    Ordered     2/10/2009    2/10/2009
95/001 125 11/26/2008     7334846    Ordered       1/5/2009    1/5/2009
95/001 126 12/1/2008      7344463    Ordered      1/16/2009   1/16/2009
95/000,421 12/5/2008      7364160    Ordered      6/4/2009
95/000,422 12/9/2008      7374111    Ordered     12/18/2009                2/18/2009
95/001 127 12/9/2008      7205544    Ordered      3/9/2009     3/9/2009
95/000,414 12/11/2008     6851894    Ordered     2/20/2009    2/20/2009
95/001, 128 12/15/            020    Ordered      2/6/2009
95/000,423 12/18/                    Ordered     2/20/2009    2/20/2009
95/000,424 12/19/                    Ordered      2/5/2009     2/5/2009
95/001 129 12/                506    Ordered      3/6/2009    3/30/2009
95/000, 425 12/23/2008    7220022    Ordered     2/ 17/2009
95/000, 426 12/24/2008    7234174    Denied       4/8/2009                                            4/15/2009
95/001 131 12/31/2008     6266285    Ordered     1/22/2009    3/13/2009
95/001 132 12/31/2008     6314051    Ordeied     2/17/2009    3/13/2009
95/001 133 12/31/2008     6751969    Ordered     1/22/2009    3/13/2009
95/001 134   1 /9/2009    6260097    Ordered     3/13/2009    6/5/2009
95/001 138 1/21/2009      7363349    Ordered     4/8/2009
95/000,428 1/22/2009      6818020    Ordered     4/9/2009     4/9/2009
95/000,429 1/23/2009      7306235    Ordered      3/6/2009
95/000, 430 1/23/2009     7302925    Ordered     3/18/2009    3/18/2009
                                                                                                                                                   Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 60 of 111 PageID# 691




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                                        Ordered
                                      Ordered After
 95/000, 431    1/29/2009   6663347      Review       3/1 8/2009
 95/000,433     1/29/2009   6904949     Ordered       3/30/2009
 95/000, 434    1/29/2009   6629556     Ordered       3/30/2009
 95/000,437      2/3/2009   7174661     Ordered        3/6/2009    3/6/2009
 95/000,438      2/6/2009   6421210     Ordered        5/4/2009    5/4/2009
 95/000, 439     2/6/2009   7305625     Ordered       4/30/2009
 95/001 143     2/11/2009   7343414     Ordered       4/8/2009     4/16/2009
 95/001 144     2/11/2009   7020704     Ordered       4/1 3/2009   4/21/2009
 95/001 145     2/11/2009   6410278    Terminated
 95/001 146     2/11/2009   6974670      Denied       3/26/2009
 95/001 147     2/18/2009   7217368     Ordered       5/14/2009    5/14/2009
 95/001 148     2/19/2009   6542660     Ordered        5/4/2009     5/4/2009
 95/001 152     2/27/2009   6324120     Ordered       4/22/2009
 95/000,444      3/3/2009   6623381     Ordered       5/26/2009    5/26/2009
 95/001. 154     3/3/2009   6584037     Ordered       4/22/2009
 95/000, 452    3/10/2009   7500796     Ordered       3/30/2009    3/30/2009
 95/001 155     3/11/2009   6546446     Ordered       4/23/2009
 95/000, 451    3/12/2009   6936050     Ordered       4/29/2009    6/171009
 95/001 156     3/13/2009   7264730     Ordered       5/15/2009    5/15/2009
 95/001 159     3/24/2009   7177998     Ordered       5/26/2009
 95/001 160     3/24/2009   7210016     Ordered       5/26/2009
 95/000 461     3/26/2009   7194691     Ordered       6/18/2009
 95/000, 462    3/26/2009   7117443     Ordered       6/18/2009
 95/001 163     3/31/2009   6985569     Ordered       6/22/2009    6/22/2009
 95/001 164      4/1/2009   7139371     Ordered        5/8/2009     5/8/2009
 95/001 165      4/1/2009   7016481     Ordered        5/8/2009     5/8/2009
 95/001 166      4/3/2009   7287109     Ordered       5/15/2009    5/15/2009
         168    4/13/2009   6712880     Ordered       5/28/2009    5/28/2009
         169    4/21/2009   6591353     Ordered        7/6/2009     7/6/2009
          170   4/21/2009   7303680     Ordered       6/19/2009        9/2009
  95/001 171    4/23/2009   6768999     Ordered       5/22/2009          2009
  95/001, 172   4/23/2009 . 6725427     Ordered        7/1/2009
  95/001, 173   4/24/2009 6959112       Ordered       6/10
  95/001 174    4/24/2009 6804416       Orderect      7/13/2009
  95/001 175    4/24/2009 6415082       Ordered        7/2/2009
  95/001 178    4/24/2009 6470405       Ordered        7/7/2009
. 95/000,463    4/27/2009 6542673
  95/001 183    4/29/2009 7321783
  95/001, 184   4/30/2009 7068668       Ordered       6/22/2009    6/22/2009
  95/001 185    4/30/2009 7486667       Ordered       6/22/2009    6/22/2009
  95/001 186    4/30/2009 6775371
 95/000,465      5/5/2009 7128744       Ordered       6/19/2009
 95/000,467      5/6/2009   7171771     Ordered       6/24/2009    6/24/2009
 95/000,466      5/7/2009 7321937       Ordered       6/22/2009    6/22/2009
                                                                                                                                 Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 61 of 111 PageID# 692




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  95/000, 468    5/8/2009    6623486
  95/000,469    5/12/2009    7389243
  95/001 188    5/12/2009    6304937
  95/000,470    5/14/2009    6564281
  95/000, 471   5/15/2009    7209997
  95/001 189    5/18/2009    7287119
  95/000,475    5/19/2009    7179999
  95/001 190    5/19/2009    6990660
  95/000,478    5/21/2009    7378992
  95/001 191    5/26/2009    6681120
  95/000, 479   5/28/2009    7161506
  95/001. 192   5/28/2009    6879830
  95/001, 193   5/28/2009    7043751
  95/000, 480    6/4/2009    7475180
  95/000, 481    6/4/2009    7475181
  95/001, 196    6/4/2009    7330952
  95/000,482     6/9/2009    7176489
  95/000, 483    6/9/2009    6815321
  95/001, 201   6/23/2009    7330953
  95/001 ,202   6/23/2009    7207949
  95/001 ,203   6/24/2009
  95/001 ,205    7/1/2009    7360050
  95/000,485     7/6/2009    7369772
  95/000,486     7/8/2009    6604158
  95/000,484
  95/001 ,207
  95/001 080     9/9/2008    7321783              11/29/2008   2/24/2009
  95/000,449    3/12/2009    6936051    Ordered   4/30/2009    6/18/2009
  95/001 ,040   4/28/2008    7363167    Ordered   7/11/2008    1/26/2009
. 95/000, 333    1/18/2008   7096212    Ordered    3/7/2008    3/7/2008     5/5/2009
  95/001 026     1/31/2008   6378020    Ordered    4/9/2008
  95/001 066    7/16/2008    7303680    Denied     10/8/2008
  95/000, 294   8/30/2007    7152413    Ordered    10/4/2007    10/4/2007   4/1/2009
  95/001 050    6/12/2008    6850130    Ordered   7/15/2008    12/19/2008
  95/000,435    2/11/2009    7361251    Ordered   4/24/2009    4/24/2009
  95/000, 436   2/11/2009    7368032    Ordered   4/1 5/2009   4/15/2009
                4/14/2009    6784873    Ordered   6/1/2009     6/16/2009
                10/11/2007   6939052    Ordered   12/4/2007     12/4/2007   3/26/2009
                6/17/2009    6611789
     01, 199    6/17/2009
 95/001 161      4/9/2009    6435279    Ordered   6/1 2/2009   6/12/2009
 95/000, 1 66   8/22/2006    642691 6   Ordered   10/19/2007    7/3/2008
 95/001 010     10/23/2007   7090906    Ordered    1/17/2008   4/27/2009
 95/001 136      1/23/2009   6416684    Ordered   3/27/2009    3/28/2009
 95/001, 030    2/26/2008    6985494    Ordered   4/18/2008    4/24/2008    2/12/2009        6/16/2009
 95/000,445     3/18/2009    6495633    Ordered   5/15/2009    5/15/2009
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 95/000, 286   8/31/2007    6460042              11/'9/2007
 95/001  020     1/72008    7090906    Ordered   3/28/2008     4/27/2009
 95/000, 401   10/14/2008   7021515    Ordered   12/5/2008     12/5/2008
 95/000, 164    10/6/2006   7052301    Ordered    1 2/8/2006   12/8/2006
 95/000, 297   9/12/2007    6865604    Ordered   11/" 9/2007    1/4/2008    6/12/2008
 95/000, 298   9/12/2007    6880004    Ordered   11/19/2007     1/4/2008    6/12/2008
 95/000 299    9/12/2007    6871229    Ordered   11/19/2007                  1/4/2008
 95/001 034    3/19/2008    6853714    Ordered   4/25/2008      9/5/2008    3/26/2009
 95/001 063    7/28/2008    7318892    Ordered   10/15/2008    11/26/2008
 95/001 064    7/28/2008    7351340    Denied    10/21/2008
 95/001 002     9/6/2007    6422595    Ordered   11/30/2007    11/30/2007
 951001. 003    9/6/2007    6397136    Ordered   11/21/2007     2/5/2009
 95/001 110     12/1/2008   7424133    Ordered    2/2/2009      2/2/2009
 95/000 427    3/18/2009    7214536    Ordered   5/27/2009     5/27/2009
 95/000, 443   3/18/2009    6833252    Ordered   5/27/2009     5/27/2009
 95/000, 178    10/6/2006   6324120    Ordered   12/26/2006     7/3/2008    2/13/2009
 95/000. 233   3/13/2007    6791088    Ordered   5/17/2007     6/26/2007    10/31/2008
 95/001 029    2/28/2008    6459806    Ordered   5/22/2008     3/27/2009
 95/000, 242   4/12/2007    6429210    Ordered    7/6/2007     8/14/2007
 95/001 019      1/4/2008   6533078    Ordered    3/4/2008      3/4/2008
 95/001, 142    3/6/2009    6838101    Ordered    5/8/2009      5/8/2009
 95/001 198    6/29/2009    6716139
 95/000, 162   10/17/2006   7096977    Ordered   12/18/2006    12/18/2006
 95/001, 031   3/11/2008    7113152    Ordered   5/14/2008     12/19/2008
 95/000, 413    12/2/2008   7167625    Ordered   1/12/2009      1/12/2009
 95/001 141     3/6/2009    7351180    Ordered   5/22/2009
 95/000, 477   6/16/2009    7283340
 95/001. 151   3/23/2009    7376608
 95/000.450     4/6/2009    6916320    Denied     5/14/2009
 95/000, 182   10/19/2006   6644595    Ordered    1/10/2007    2/29/2008
 95/000, 232   3/21/2007    7022993    Ordered   5/17/2007      8/312007    10/29/2008
 95/001 001     9/7/2007    7145902    Ordered   11/27/2007    11/27/2007    8/6/2008        10/3/2008   6/17/2009
 95/000 296    9/20/2007    6991169    Ordered   12/12/2007    12/12/2007
 95/000, 328    1/14/2008   6892211    Ordered    4/2/2008     8/28/2008
 95/001, 032   3/17/2008    6964850    Ordered   5/20/2008     5/20/2008
 95/001 153     4/2/2009    6799994
 95/001 162    4/30/2009    6722                 5/21/2009     5/21/2009
 95/000 264    6/18/2007    7186                 9/10/2007     9/10/2007    1/13/2009        3/20/2009
 95/000, 301   10/2/2007    6660297    Ordered   12/21/2007    12/21/2007
 95/000, 371   6/30/2008    7021 668   Ordered   9/23/2008     9/23/2008    3/23/2009        5/27/2009
 95/000, 203    1/16/2007   6987242    Ordered   4/10/2007     4/10/2007    2/20/2009         7/2/2009
 95/000, 215   2/15/2007    6974845    Ordered   4/27/2007     4/27/2007    11/14/2008       3/30/2009
 95/000 244    4/26/2007    6336312    Ordered   7/16/2007     7/16/2007    2/27/2008        1/27/2009
 95/000,                    6336311    Ordered   7/16/2007     7/16/2007     6/5/2009
 95/000 380                 6372460    Ordered   1 0/8/2008    10/27/2008
 95/000,455                 6639588
                                                                                                                                                      Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 63 of 111 PageID# 694




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                                                                                                                       Decision

95/000,456    4/27/2009     6686895
95/000, 186   11/15/2006    6760749    Ordered   1/26/2007     3/9/2007                                                           2/11/2009
95/000 202     1/17/2007    6329636    Ordered   4/10/2007    4/10/2007      2/20/2009          7/2/2009
95/000 204     1/17/2007    6815639    Ordered   4/10/2007    4/10/2007      2/20/2009          7/2/2009
95/000, 209    1/25/2007    6984791    Ordered   4/1 3/2007   4/13/2007      11/1/2007         6/25/2008   3/27/2009
95/000, 389   9/10/2008     7164970    Ordered    12/3/2008    12/3/2008
95/000 169     9/5/2006     6826661    Ordered   10/31/2006   10/31/2006     3/27/2009
95/000, 190   11/17/2006    6496216    Ordered    2/3/2007    1 0/31 /2008                                                        2/11/2009
95/000 192    11/17/2006    6757055    Ordered    2/3/2007    10/31/2008                                                          2/10/2009
95/000, 219    3/8/2007     7169418    Ordered    6/7/2007                    6/7/2007
95/001 195     7/6/2009     7351 340
95/000, 319    1/7/2008     6429231    Ordered   3/31/2008     2/2/2009
95/000 440    3/18/2009     7381804    Ordered   5/13/2009    5/13/2009
95/000, 149   8/21/2006     6503773    Ordered   10/27/2006   10/27/2006      4/4/2008         9/29/2008
95/000 240    4/24/2007     6795605    Ordered   6/26/2007    10/1/2007
95/001 044    6/26/2008     7096776    Ordered    8/1/2008     8/1/2008
95/000,460     5/4/2009     6304236
95/000, 254   5/30/2007     6675788    Ordered    8/8/2007     7/7/2008
95/000, 266   7/11/2007     6716459    Ordered   9/26/2007    9/26/2007      3/26/2009
95/000 360    5/15/2008     6782789    Ordered   6/23/2008    6/23/2008       3/9/2009
95/001 158     5/1/2009     7138275    Ordered    7/2/2009     7/2/2009
95/000 473    6/30/2009     7339116
95/000, 238   4/20/2007     6777014    Ordered   6/29/2007    6/29/2007      7/17/2008
95/000, 464   6/17/2009     6624761
95/000,457     5m2009       6549970
95/000,458      5/7/2009    7089342
95/000, 151     8/4/2006    6285746    Ordered   10/2/2006    1 0/26/2006                                                                        2/12/20       5/5/2009
95/001. 179     6/8/2009    7088862
95/001 180      6/8/2009    7190834
95/000, 181   11/14/2006    6609034    Ordered   1/29/2007    1/29/2007      3/26/2009
  /000, 260    6/22/2007    6939348    Ordered   8/16/2007    8/16/2007      12/19/2008       3/23/2009                                          5/19/2009
  /000, 291    10/1/2007    6804129    Ordered   11/9/2007    3/26/2008       2/2/2009        5/27/2009
95/000, 187   11/29/2006    6739874    Ordered   2/23/2007    7/27/2007       5/5/2008         1/8/2009                                         3/30/3009
95/000 188    11/29/2006    7018213    Ordered   2/26/2007    7/27/2007       5/2/2008         3/3/2009                                         5/11/2009
95/000, 189   11/29/2006    7029283    Ordered   2/23/2007    2/23/2007      7/20/2007        12/13/2007                                         5/9/2008      8/5/2008
95/000, 191   11/29/2006    7006786    Ordered   2/26/2007                   7/23/2007        12/13/2007                                         5/2/2008     8/5/2008
        248    5/9/2007     6924413    Ordered   8/1/2007     11/21/2007                                                                        3/17/2008     3/24/2009
        177   6/10/2009     6850646
       181    6/10/2009     7065262
95/001 182    6/10/2009     6856698
95/000, 184   11/21/2006    6938709    Ordered    2/8/2007    4/13/200         /5/2008         5/5/2009
95/000, 216    1/31/2007    6849827    Ordered   4/10/2007    4/10/200       5/22/2008         8/29/2008
95/000, 231   3/30/2007     7007439    Ordered   4/24/2007    4/24/2007      2/27/2008         1/14/2009
95/000, 441   4/10/2009     7114668    Ordered   6/17/2009    6/17/2009
95/000, 442   4/1 0/2009    6740232    Ordered    7/1/2009     7/1/2009
95/001 150    4/ 1 4/2009   6841523    Ordered   6/19/2009    6/19/2009
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Control No. FlIl19   Dat


 95/000,472      7/8/2009    6596944
 95/000, 205     2/2/2007    7049546   Ordered   4/10/2007    4/10/2007      11/14/2008        4/22/2009
 95/001. 130    2/12/2009    7000235   Ordered   3/26/2009    3/26/2009
 95/000 285     9/21/2007    7097719   Ordered   12/19/2007   12/19/2007
 95/000,459     5/15/2009    6513088
 95/000, 185     12/4/2006   6357193   Ordered   2/23/2007    9/12/2008
 95/000 399     11/17/2008   6447190   Ordered    1/7/2009     1/7/2009
 95/000, 372    7/23/2008    6501906   Ordered   10/20/2008   10/20/2008
 95/001 ,092    12/17/2008   7332225   Ordered   2/19/2009    2/19/2009
 95/000, 174    8/16/2006    6838728   Ordered   10/26/2006   10/26/2006     11/21/2008        3/4/2009
 95/000, 157    9/13/2006    6730333   Ordered   11/21/2006
 95/000. 364    6/23/2008    7179540   Ordered   8/29/2008    8/29/2008 .                                                                6/9/2009
 95/000 234     4/26/2007    6857971   Ordered   7/16/2007    7/16/2007                                    10/12/2007
 95/001. 187    7/10/2009    7481413
 95/001 021     2/26/2008    7110562   Ordered   4/14/2008    3/18/2009
 95/001 022     2/26/2008    7016512   Ordered   4/22/2008    3/18/2009
 95/000. 170    8/11/2006    6703144   Ordered   10/26/2006   10/26/2006     9/21/2007         2/27/2009                    6/8/2009
 95/000. 155    9/19/2006    6784901   Ordered   12//2006      12/7/2006     9/21/2007         4/17/2008                   6/30/2008     10/7/2008
 95/000. 1 77    11/9/2006   6864115   Ordered    1/10/2007    1/10/2007 .    5/1/2008         3/20/2009                   7/13/2009
95/000 , 1 73    8/1/2006
                       6529685         Ordered    9/29/2006   9/29/2006      10/23/2008        2/6/2009
95/000. 1 75     8/3/2006
                       6900094         Ordered   10/31/2006   10/31/2006                                                   10/31/2008    1/27/2009
95/000, 324      2/8/2008
                       6857001         Ordered     4/4/2008    4/4/2008      6/19/2009
95/001 074 1 0/9/2008 6688501          Ordered   11/14/2008   11/14/2008                                                   2/23/2009    5/12/2009
95/001. 137 3/24/2009 6649368          Ordered    6/22/2009   6/22/2009
95/000, 447 5/18/2009 6592586           Denied    6/11/2009
95/000,448 5/18/2009 6969390           Ordered    6/18/2009                  6/18/2009
95/000 196 1/26/2007 6521831           Ordered    4/13/2007   4/13/2007      1/14/2009
95/000,446 5/20/2009 6428542           Ordered    6/30/2009   6/30/2009
95/001. 139   4/6/2009 7085566         Ordered    5/12/2                     5/12/2009
95/000 226 4/19/2007 6351205           Ordered    6/15/2         12/2008      6/5/2009
95/000 230 4/19/2007 6563415           Ordered     6/4/2007    1/31/2008     6/19/2009
95/000, 239 5/30/2007 7142347          Ordered    8/1/2007     8/1/2007
95/000, 393 11/11/2008 6213703         Ordered    1/13/2009    1/13/2009
95/000. 194 1/12/2007 6649480          Ordered    3/23/2007   3/23/2007      5/22/2008         7/1/2009
95/001 076 11/12/2008 6770748          Ordered   12/31/2008   12/31/2008
95/000 306    1/4/2008 6852191         Ordered    2/22/2008   2/29/2008
95/000, 250 6/28/2007 6452863          Ordered    9/5/2007     7/3/2008
95/000, 243 6/13/2007 7100061          Ordered   6/26/2007    6/26/2007      7/3/2008         12/31/2008
95/001 014    2/1/2008 7148803         Ordered   4/15/2008    12/31/2008     7/9/2009
95/000, 255 7/20/2007 6750386          Ordered    10/5/2007     0/5/2007                                                   3/6/2008      6/3/2008
95/000, 377 9/15/2008 7223361          Ordered   11/20/2008   11/20/2008
95/000, 220   5/4/2007 6400303         Ordered   7/26/2007    1 0/3/2008     6/30/2009
95/000, 221   5/4/2007 6906700         Ordered   7/12/2007                                                 4/14/2009
95/000 147    9/8/2006 6979468         Ordered   11/22/2006   11/22/2006                                   3/6/2008
95/001 027 4/28/2008 7250464           Ordered    6/5/2008     6/5/2008      1/29/2009
95/000,417 2/13/2009 6904370           Ordered   4/10/2009    6/22/2009
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  95/000, 217    5/7/2007    6344791    Ordered      8/1/2007     5/7/2008
  95/000 222    5/10/2007    6344791    Ordered      8/2/2007     5/7/2008
  95/000, 223   5/10/2007    6343991    Ordered     7/18/2007    7/18/2007
  95/000, 224   5/10/2007    6563415    Ordered     6/15/2007    1/31/2008
  95/000, 225   5/10/2007    6351205    Ordered     6/25/2007    2/12/2008
  95/000, 383   10/23/2008   6719434    Ordered      1/12/2009   3/13/2009
  95/000, 287   11/23/2007   7255851    Ordered      1/25/2008   3/19/2008
  95/000, 214   4/24/2007    6347997    Ordered     7/17/2007    7/17/2007
  95/000,402     1/26/2009   6442573    Orde        3/30/2009    3/30/2009
  95/000 236    6/11/2007    6786546    Orde         9/5/2007     9/5/2007                                  2/12/2009
  95/000, 195   2/14/2007    6364302    Orde        2/27/2007
  95/000, 378    10/9/2008   7344450                12/19/2008   3/25/2009
  95/000, 420   3/30/2009    6880825    Ordered      6/5/2009
  95/001 075    11/26/2008   6749624    Ordered     2/25/2009    2/25/2009
  95/000, 148   11/22/2006   6783054    Ordered     2/16/2007    4/9/2008
  95/000, 379    11/7/2008   6965874    Ordered      2/2/2009    2/2/2009
  95/000 325    4/18/2008    7165175    Ordered     6/23/2008    3/23/2009
  95/000 288     1/15/2008   6547764    Ordered     2/29/2008    2/29/2008    8/22/2008        11/20/2008
  95/000 251    9/20/2007    6721178    Ordered      11/1/2007   11/1/2007    10/3/2008        2/26/2009
  95/000, 419    12/3/1980   6951596    Ordered     2/13/2009    2/13/2009
  95/000, 011   4/17/2003    6317592   Terminated                                                           5/19/2003
  95/000, 019    6/3/2003    6467939   Terminated                                                           8/20/2003
  95/000, 167    8/7/2006    6874090   Terminated                                                           11/1/2006
  95/000, 207   12/15/2006   6536352    Ordered     3/13/2007    3/13/2007    3/17/2008
  95/000, 252                6910601   Terminated                                                           4/11/2008
  95/000, 256                6979117   Terminated                                                            8/6/2008
  95/000, 290                6501906   Terminated                                                           2/26/2008
  95/000, 305                7021515   Terminated                                                           1/28/2008
  95/000 318                 6387081   Terminated                                                           1/28/2008
  95/000, 331                6709694   Terminated                                                           3/5/2008
  95/000,432                 7418423
  95/000, 453                6604158
. 95/000, 454                RE40385
  95/000,474                 657009
  95/000, 476                6998537
  95/000, 487
  95/001 004                 6459806   Terminated                                                            2/7/2008
  95/001, 015                6365204   Terminated                                                           1 /29/2008
  95/001 023                 7139404   Terminated                                                            4/3/2008
  95/001 045                 6869799   Terminated                                                           8/25/2008
  95/001 046                 7241424   Terminated                                                           8/25/2008
  95/001 059                 6959183   Terminated                                                           1 0/20/2008
  95/001 ,067                7167503   Terminated                                                           10/16/2008
  95/001 087                 7167503   Terminated                                                           3/10/2009
  95/001 135                 6095850   Terminated                                                           3/10/2009
  95/001 149                 7376608   Terminated                                                           3/31/2009
                                                                                                                                                           Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 66 of 111 PageID# 697




                                                                                          Page 15 of 16
                                 Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 67 of 111 PageID# 698

Inter Partes Reexam Statistics




                                                        3/31/2009
                                             Decision
                                      BPAI




                                                                                                                  Page 16 of 16
             7/16/2009
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                     UNITED STATES PATENT AND TRADEMARK OFFICE

                                                                                                                         Commissioner for Patents
                                                                                                        United States Patent and Trademark Offce
                                                                                                                                     O. Box 1450
                                                                                                                      Alexandria, VA 22313- 1450
                                                                                                                                  ww. uspto. gov

                                          Inter Partes Reexamination Filing Data - June 30 , 2009
             Total requests fied since start of             inter partes      reexam on 11/29/99 ............................................................... 671

             Number of fiings by discipline
                          Chemical Operation                                                                                                          142          21%
                          Electrical Operation                                                                                                        293          43%
                          Mechanical Operation                                                                                                        225          34%
                          Design Patents
             Annual Reexam Filings
             Fiscal Y r.       No.           Fiscal Yr.        No.          Fiscal Yr.        No.         Fiscal Yr.        No.
               2000                           2003                            2006                          2009            195 YTD
               2001                           2004                            2007            126
               2002                           2005                           2008             168



             Number known to be in litigation................. ..................................                                     .446.............. ....... 66%
             Decisions on requests                                                                                                                                  583

                   No. granted                                                                                                         556.......................... 950/0
                   (1 )     By examiner                                                                                                555
                   (2)      By Director (on petition)
             b. No. not granted ........................................................................................................

                   (1)      By examiner
                   (2)      Reexam vacated

             Overall reexamination pendency (Filing date to certificate issue date)
             a. A verage pendency                                                                                               36. 1 (mos.
             b. Median pendency                                                                                                 33. 0 (mos.

             Total inter partes reexamination certificates issued (1999 - present)
                   Certificates with all claims confirmed
                   Certificates with all claims canceled (or disclaimed)                                                                                           60%
                   Certificates with claims changes                                                                                                                35%




              Ofthe requests received in FY 2009 , 14 requests have not yet been accorded a fiing date , and 8 requests have had
  preprocessing tenninated , for failure to comply with the requirements of 37 CFR 1.915. See Clarification of Filing Date
  Requirements for   Ex Parte and Inter Partes Reexamination Proceedings , Final Rule , 71 Fed. Reg. 44219 (August 4 2006).
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                 EXHIBIT H
Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 71 of 111 PageID# 702




     Reexamining        Inter partes       Reexam

     Beginning in 1981, U. S. patent law set up patent reexamination as an administrative
     alternative to litigation for addressing patent validity concerns. The idea was to create a
     less expensive and speedier alternative to decide questions of patent validity. Although
     the level of scrutiny of the U. S. patent system has risen dramatically in light of the
     ongoing debate over patent reform , reexamination has received relatively little attention.
     Recently however , we have observed a number of trends that suggest that it might be
     time to carefully reexamine patent reexamination , paricularly   inter partes  reexamination.

     In doing so , we have discovered the following:
            Inter partes       reexaminations requests are rising rapidly - a 6X increase between
            2003 and 2007
            Reexamination, particularly              inter partes      reexamination is not simply used as an
            alternative to litigation , but an integral part of litigation strategy - more than half
            (52%) of patents in         inter partes      reexams are known to be in litigation during their
            reexamination
            Virtually all requests for          inter partes      reexamination are granted - 95% of                 inter
            partes     reexam requests are granted , and this statistic may actually understate the
            effective grant rate
            To date , there has never been a single                inter partes       reexamination that has gone
            through the entire reexamination process (including appeal) and made it to
            completion - only three have ever received a decision by the Board of Patent
            Appeals and Interferences
            Despitc a mandatc for " special dispatch" , thc time required to complete an                              inter
            partes     reexamination is much longer than commonly believed
                        Without appeal , the average pendency period for                        inter partes     rcexam is
                        43. 5 months, much longer than the 28. 5 months reported by the USPTO-
                        a 95% confidence interval would put the pendency between 34 and 53
                        months
                        Although no      inter partes       reexam has ever been completed after being
                        appealed , the average pendency for appealed                      inter partes       reexams is 78.4
                        months (assuming no rework by the patent office or secondary appeal) - a
                        95% confidence interval would put the pendency between 5 and 8 years

     Why reexamine          inter partes          reexams?
     Over the last several years, the number of reexamination requests at the USPTO has been
     rising rapidly. This is paricularly true for          inter partes reexams. The number of requests
     for  inter partes       reexam had increased 6X from 24 in calendar 2003 to 142 in calendar
     2007. (Note: Our analysis is based on calendar years rather than the USPTO' s fiscal
     year.) This increase appears to be a result of the increasing use ofreexamination as an
     integral part of litigation strategy by defendants or potential defendants in patent
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                               1. '




     litigation. According to USPTO statistics , more than half (52%) of all patents subject to
     inter partes reexamination are known to be in litigation during the reexamination process.

     The story of Microsoft and A vistar is a paricularly tellng example. After six months of
     licensing negotiation , Microsoft has requested reexamination of 24 of A vistar ' s 29 U.S.
     patents. Although A vistar ' s key patents have previously survived two significant
     litigations, Microsoft' s actions have delayed its licensing program and placed the
     company into financial distress resulting in a 25% reduction in its U. S. and European
     workforce.

     Although the reexamination statute in the U.S. may have been intended to provide an
     alternative to litigation, the actual use of reexamination appears to be an augmentation of
     litigation strategy rather than an alternative. In many cases , patent litigation in U.
     courts and 337 actions at the International Trade Commission (investigations of unfair
     trade practices related to IP infringement) run simultaneously with reexamination at the
     Patent Office. Simultaneous litigation and reexamination raise serious questions for U.S.
     courts about whether to wait for the results of a pending reexamination or continue with
     their court proceedings.

     The conclusions so far have been mixed. In some cases , patent litigation has been stayed
     pending the results of reexam, while in others, the cases have continued. Many people
     wil remember for example that Judge Spencer who presided over the contentious patent
     battle between NTP and RIM over the " Blackberry patents " famously refused to stay the
     litigation proceedings despite the fact that the PTO had issued an initial rejection of the
     claims at issue.

     These difficult and often critical decisions by circuit court judges and administrative law
     judges depend heavily on their understanding and expectations of what wil happen in the
     reexamination process at the PTO. How reliable are initial office actions as a predictor of
      final results in a reexamination? How long wil the process take? How often are the
     patent examiner s finding upheld on appeal? For judges , these questions are critical in
     determining whether a request for a stay should be granted. For litigants, these questions
     can strongly influence litigation strategy.

     Ex parte      reexamination was established by statute in 1981, and more than 9, 000
     reexamination requests have been fied with more than 6, 000 reexamination certificates
     issued (signaling the completion of the process). The      ex parte reexamination process is
     well established. Much less is known about                  inter partes   reexams. Established by statute
     in November of 1999, the first               inter partesreexamination was not requested until 2001.
     Through mid- April of 2008, there have been 396 requests for              inter partes reexamination
     at the USPTO, and only 16 of those have received reexamination certificates.
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                                  t'



                                              _"=N"'C     ""m.' .w,   m"'                   wm-   ="m'N",'m   n"""-- n--

     Given the rising importance of reexaminations in general , and the relative scarcity of
     information about  inter partes reexam specifically, we decided to take a closer look to
     discover what can be learned about this relatively little understood process.

     What did         we do?
     To examine the            inter partes      reexamination process , we copied transaction level data for
     every inter partes reexamination from the USPTO' s PAIR database. These transactions
     reveal both the sequence and the timing of each step through the process. The database
     we created all cases and transactions through April 16 , 2008.

     We noted and corrected a number of anomalies in the PTO data including:
           Several reexaminations appeared to proceed without the initial " Request for Inter
           partes    Reexamination " transaction in the PTO data - we investigated and
           manually filled in this missing data
           Several reexaminations included references to     ex parte reexamination despite
                  the fact that they were               inter partes reexams - we manually reviewed and
                  resolved each discrepancy
                  Duplicate transactions (same reexam number , same transaction, same date) were
                  eliminated - these were generally not errors, but represent instances where the
                  documents were uploaded into the PAIR system in multiple parts

     We then extracted the key milestone transactions in the reexamination process and
     mapped the process and timeline for every                              inter partes   reexamination to discover what
     path each case had taken through the process , and how long each step in the process
     takes. The results of our analysis are briefly described below, and more fully captured in
     the attached presentation slides.


     What did we find?
     Requests for         inter partes     reexamination are rising rapidly
     As described above, the number of              inter partes   reexamination requests is rising rapidly.
     In 2007, there were 142 requests for             inter partes   reexams , three times as many as in
     2005, and nearly six times as many as in 2003.                Inter partes  reexam requests have risen
     nearly 90% per year (CAGR) over the last five years.

     Nearly all                  reexamination request are granted
                      inter partes

     Granting a request for reexamination is not automatic. The standard for granting a
     reexamination request requires that a " significant new question " of patentability must be
     presented by the requestor. Since their inception in 200 I, there have been 396 requests
     for inter partes     reexamination requested at the USPTO. Of these, 354 have reached a
     decision about whether the reexamination request wil be granted. Over this period
     ninety- five percent of all    inter partes reexam requests have been granted. With so few
     requests being denied (19), we reviewed each case where a reexamination was denied,
     and found that the effective denial rate may actually be overstated. A number of the
                     " .
                       " .



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                   ()(J
     nineteen requests for reexamination that were denied are from a small number of
     inventions where multiple patent reexams were requested. Stil others were not for utility
     patents , but were request for reexamination of design patents. It is fair to say that
     virtually all requests for inter partes reexamination are granted. Whatever threshold has
     been established by the Patent Office for determining a " significant new question " of
     patentability, few requestors have been unable to clear it.

     The              reexamination process is not linear
            inter vartes

     By tracing every single inter partes reexamination through the process , we were able to
     discover the path through reexamination that is actually followed by real patents in
     process. While the majority of patents follow the main sequence (Request                                  Grant

     Non- final Office Action       ACP          Reexam Certificate), some cases skip steps , and
     others repeat steps multiple times. For example, some reexams skip over multiple steps
     and proceed quickly to a Reexam Certificate. This happens most often when the patent
     holder fails to respond to the Patent Office within the statutory timeframe , and the PTO
     proceeds to issue a certificate. Stil other times , patents repeat steps multiple times.
     About one- quarter of the time     inter partes  reexams include multiple " Non- final Office
     Actions , and about one- tenth of the time they receive multiple " Actions Closing
     Prosecution

     One- quarter of all         inter partes     reexam decisions are appealed. but none has ever
     proceeded through appeal to the end of the process
     One of the major challenges in examining the               inter partes reexam process is that very
     few cases have proceeded all the way through the process. Through mid- April 2008
     only nineteen cases have ever proceeded past the Notice of Right to Appeal. Of these
     approximately one- quarter (5 cases - 26%) have been appealed to the Board of Patent
     Appeals and Interferences (BP AI), one case (- 5%) went back for another Action Closing
     Prosecution , and the remaining 13 cases (68%) moved on to " Intent to Issue a Reexam
     Certificate

     Of the cases that have gone on to appeal, only three have received a decision by the
     BP AI. None of the three decisions represents a final decision by the BP AI that can be
     appealed to the Federal Circuit as in each case, the Board added new grounds for
     rejection and remanded the cases to the Patent Office for further action. None of the
     three cases has reached a final Reexamination Certificate , and it has taken 4 , 4, and 5
     years for the cases to get to the initial BP AI decision.

     The average pendency of 28. 5 months reported bv the USPTO is highly skewed
     The USPTO regularly publishes statistics about                             inter partes   reexaminations. According
     to their latest publication (December 31, 2007), the average pendency (Filng date to
     certificate issue date) is 28. 5 months. This calculation is based on only 12 inter partes
     reexaminations that had reached a final certificate by that date. In our analysis which is
     up to date as of April 16, 2008 , wc found 16 rcexaminations that had reachcd a final
.'
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          certificate. Our calculation of average pendency for those cases was only slightly longer
          at 30. 1 months.

          However , in carefully examining the 16 cases that have received final certificates, we
          note that 10 of the completed reexams skipped directly from the " First Non- final Action
          to the " Intent to Issue a Reexam Certificate . Upon closer inspection, each of these cases
          skipped multiple steps because the patent owner failed to respond to the offce action.
          The average pendency of these cases was 24 months, while the average for the remaining
          six cases that followed the basic process (Non- final Action     ACP      Right of Appeal
              Notice of Intent to Issue a Reexam Certificate       Reexam Certificate) was -
          months. It should be noted that NONE of the cases that have received a final Reexam
          Certificate have gone to appeal.

          While mathematically accurate, the pendency statistic provided by the USPTO is highly
          misleading. An appropriate reading of the statistic is that the Patent Office takes two
          years to dispose of a patent through inter partes reexam if the patent holder doesn t care
          to defend its rights. It takes significantly longer to get to a resolution if the patent holder
          participates in the process.

          Average pendency for an un-appealed                       inter partes   reexam is more than 3. 5 years
          Given the small number of cases that have proceeded through the
                                                                                        reexam      inter partes


          process, a more appropriate way to estimate average pendency is to calculate the time
          required for cases to proceed through each step in the process and sum them up. We
          calculated an average time and a 95% confidence interval for each step in the main
          sequence. Based on our calculations, it takes more than 3 Yz years (43. 5 months) for the
          average case to proceed through the basic reexam process to a final conclusion - this
          assumes that the case is not appealed to the BPAI or beyond. A 95% confidence interval
          suggests a range of between 34 and 53 months for average pendency for an un-appealed
          inter partes reexam.

          Expected pendency for appealed                    inter partes      reexams is at least 6. 5 years
          Inter partes      cases that go through the appeal process can be expected to take much longer
          than the 3 Yz years described above. Calculating average pendency for appealed cases is
          difficult because as we have noted , there has never been an appealed                          inter partes   case
          that has completed the process. However, if we make a conservative assumption that all
          cases that go through the appeal process wil receive a decision by the BP AI and
          immediately move to Intent to Issue a Reexam Certificate , then we can calculate an
          average expected pendency. The result of this calculation is that average pendency
          (assuming no " rework" by the patent office and no secondary appeals to the BP AI , the
          Federal Circuit, or the Supreme Court) is 78.4 months - slightly longer than 6. 5 years. A
          95% confidence interval suggests an average pendency for appealed cases (again,
          assuming no rework) is between 5 and 8 years (60- 97 months)! Given that the only three
          inter partes reexam cases that have received a BPAI decision all require further " rework"
          and are subject to further appeal , these estimates may be highly conservative.
.\
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          According to statute , reexam cases are to be handled with " special dispatch" . This means
          that reexam cases are to receive priority over all other cases. The Patent Offce has
          reportedly set a target of 24 months to complete the reexam process , but so far, the actual
          time to conclude an    inter partes reexam is far beyond this target. This can not help but
          raise significant concern to anyone who is interested in the efficient administration of
          justice in the U. S. patent system.

          Conclusion
          The inter partes reexam process requires special attention by the U. S. Patent Office. At
          present, the time to complete these cases far exceeds the expectation of " special dispatch"
          embodied in the patent statute. Federal judges, administrative law judges, and litigants
          should take special note of these facts as they can significantly impact the progress of
          patent litigation.




          About the Authors:

          Mark Blaxil     and Ralph Eckardt      are founding Fellows of the Institute for Progress , and
          authors of the upcoming book The Invisible Edge: Taking Your Strategy to the Next
          Level Using Intellectual Property (Portfolio , March 2009). They are managing partners of
          3LP Advisors , an investment advisory firm focused on intellectual property transactions.
          Blaxil is a former vice president of The Boston Consulting Group (BCG) and was head
          of its Strategy practice initiative. Eckardt is the former head of BCG' s Intellectual
          Property Strategy practice.
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    sy .
Data Source and Method
Analysis
  All data was taken directly from the USPTO PAIR system
  Includes all Inter Partes Reexam cases and transactions listed through April
  16, 2008
                                                                                037
      Includes 95/000, 001 through 95/000, 362 and 95/001 001 through 95/001 PAIR
      except for cases 95/001 007 and 95/001 025 for which there is no data in
      Case 95/000 350 is excluded from timeline analysis since no date is recorded for
       Receipt of Original Inter Partes Reexam Request"
  All transactions were downloaded from the Electronic File Wrapper , and
  were augmented with additional transactions from the Transaction History
  wherever missing elements were identified
  Obvious anomalies were corrected manually
      For example:
           Receipt of Original Inter Partes Reexam Request" identified where missing
        . Many erroneous references to " Ex Parte Reexams " were reviewed and eliminated
          Duplicate transactions (same case number , same transaction , same date) were
          eliminated
  Key milestones for each case were extracted along with their dates, and the
  analysis was performed on these transactions
                                                                                           Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 78 of 111 PageID# 709
                                                                                                                         '"'''' '''''',"''''''''''




   Requests for Inter Partes Reexams
   have been Rising Rapidly
                             Request for Inter Partes Reexams by Year of Request
                      160

                      140

                      120

                      100




                                                                                                                                                     Actual
                                                                                                                                                     Forecast

                                2001       2002        2003        2004       2005        2006        2007      20mJ1)


                                                In 2007 , there were "'0 times as man
                                               inter partes reexam .requests as in 200
(1) Actual through 4/16/2008 , Forecast equals (108 days/365 days) X 44 reexam requests to date
Note: Reexam requests are based on calendar years rather than fiscal years as generally reported by the USPTO
                                                                                                                                                                Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 79 of 111 PageID# 710




Source: USPTO PAIR Database; Institute for Progress analysis
 Virtually all Requests for Inter
                                                                                             i ,

 Partes Reexamination are Granted
                                   Decisions on Request for Inter Partes Reexam
                      400
                                                                        1 % (4)
                      350

                      300

                      250

                      200

                      150

                      100




                              Reexam ordered Reexam denied Reexam vacated Total Decisions


                                          Among those rejected , several are for the same
                                         invention , and several others are design patents
                                                                                                   Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 80 of 111 PageID# 711




Source: USPTO PAIR Database; Institute for Progress analysis
   Most Cases Follow the Main Sequence through
   the USPTO Inter Partes Reexamination Process
   All Inter Partes Reexams through April 16 , 2008                                                                            ()(II

    The Normal Sequence of Inter Partes Reexam SteQ.                                                       100%       BPAI                    Court of
                                                                                                                    Decision                  Appeals

                                                                                                                        :a


  396

   Original                               273                  111
                                          95%                  64% Action Closing   84%                      68% Intent to Issue 84%          Reexam
                              Reexam              Non- Final
 Request for
 Inter Partes                 Ordered              Action           Prosecution
                                                                                                             13      Certificate
                                                                                                                                             Certificate
                                                                                                                                               Issued
   Rexam                                                       147


  26%


  Correced
 Request for
 Inter Partes                                                                             Key:        #+-Number of reexams leaving step on this path
   Reexam                                                                                                      :: :/:::::: I           on this path
                                                                                          I Step..
                              Reexam                                  Reexam                               step where next step is unknown
                              Denied                                 Terminated                                       Normal sequence
                                                                                          Arrow

                                                                                          coloring:
                                                                                                                      Skipped steps
                                                                                                                      Repeated steps
                                                      100%
                                                                                                                                                           Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 81 of 111 PageID# 712




Source: USPTO PAIR Database; Institute for Progress analysis
  Some Cases Skip Steps...
  Generally Due to Patent Holder Non Responsiveness
  All Inter Partes Reexams through April 16, 2008                                                                         Pl~()

    Inter Partes Reexam Process Includin                                   ed Ste
                                                                                                                                BPAI                 Court of
                                                                                                                           Decision                  Appeals



                                                                              10%



  396
                                                                                                           26%

  Original        252                      273                   111                                                                                  Reexam
                                           95%                  64% Action Closing      84%            Right of     68% Intent to Issue 84%
 Request for
 Inter Partes
                  68%         Reexam
                              Ordered
                                                   Non..Final
                                                    Action           Prosecution
                                                                                                       Appeal
                                                                                                        Notice
                                                                                                                    13      Certificate
                                                                                                                                                     Certficate
                                                                                                                                                      Issued
   Rexam



  26%


  Correced
 Request for                                                      1%,
 Inter Partes                                                                                  Key:          #+-Number of reexams leaving step on this path
   Reexam                                                                                                                   :::::s       ~~~ on this path
                                                                                               liSt               ~:~::: :f r          sI   :;::~e
                               Reexam                                                                             step where next step is unknown
                               Denied                                                          Arrow
                                                                                                                                Normal sequence
                                                                                                                                Skipped steps
                                                                                               coloring:
                                                                                                                                Repeated steps
                                                       100%


Note: Three other paths are not included on chart - A to F - 1 0%; A to G - 1 0%; B to G - 1
                                                                                                                                                                  Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 82 of 111 PageID# 713




Source: USPTO PAIR Database; Institute for Progress analysis
  ...                                                                                                                            ... .   'j




         Other Cases Repeat Steps Multiple Times
 All Inter Partes Reexams through April 16 , 2008                                                                                                          . "4

                                                                                                                                         T '-   fAi ,,F'




    Inter Partes Reexam Including                        eated Ste~                                          100%       BPAI                      Court of
                                                                                               Appeal
                                                                                              Docketed                Decision                    Appeals




 396
                                                                                                      26%

   Original                                                    111
                                                                                    84%           Right of     68% Intent to Issue 84%
 Request for
 Inter Partes
                             Reexam
                             Ordered
                                                               64% Action Closing
                                                                    Prosecution
                                                                                                  Appeal
                                                                                                   Notice
                                                                                                               13      Certificate
   Rexam



  26%


  Corr
 Requ
 Inter                                                                                    Key:          #+-Number of reexams leaving step on this path
   Reexam                                                                                                           :/:::::: I      ~~~ on this path
                                                                                          I Step.                                :;~:~e
 \ t:
                                                Reexam Order                                                 step where next step is unknown
                                                  Vacated                                                               Normal sequence
                                                                                          Arrow
                                                                                                                        Skipped steps
                                                                                          coloring:
                                                                                                                        Repeated steps
                                                                                                                                                                  Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 83 of 111 PageID# 714




Source: USPTO PAIR Database; Institute for Progress analysis
                                                                                                                                                 1'1
    Flow of Cases through the
    USPTO Inter Partes Reexamination Process                                                                                                "1
                                                                                                                                            T,
    All Inter Partes Reexams through April 16, 2008
                                    ",'"'',*''''''''''X-




    Overview of Inter Partes Reexam Process                                                                         100%      BPAI                     Court of
                                                                                                      Appeal
                                                                                                     Docketed                Decision                  Appeals
                                                                              1 ----
                                                                                                                                :0


  396
                                                                                                             26%

   Original                                                                                                                                             Reexam
                                                                                          84%                        68% Intent to Issue 84%
 Request for
 Inter Partes
                                                                                                                      13    Certficate
                                                                                                                                                       Certificate
                                                                                                                                                        Issued
   Rexam



  26%


  Correced
 Request for
 Inter Partes                                                                                    Key:         #+-Number of reexams leaving step on this path
   Reexam                                                                                                         Percent of reexams leaving step on this path
                                                                                                  Step
                                                                                                                   Number of reexams completing
                                                                                                                   step where next step is unknown
                                                                                                 Arrow
                                                                                                                               Normal sequence
                                                                                                                               Skipped steps
                                                                                                 coloring:
                                                                                                                               Repeated steps


Note: Three other paths are not included on chart - A to F - 1, 0%; A to G - 1, 0%; B to G - 1
                                                                                                                                                                     Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 84 of 111 PageID# 715




Source: USPTO PAIR Database; Institute for Progress analysis
                                    ..                ;;       -;         :;
                                                                          gg         -;
                                                                                     :g          ..




   Correction of Inter Partes Reexam Requests
   Jumped in 2006 and has Subsided Since

                         Percent of Inter Partes Reexam Requests Requiring Correction
                           100%



                            75%



                            50%



                            25%




                                                               CO CO
                                                                  0 0"'        . 0        :g 8        cz ..
                                    o ..0 N C? C?                                                     1\
                                    "" Z         "" Z          "" Z       "" Z       "" Z        "" Z :E "" Z
                                                                                                                Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 85 of 111 PageID# 716




Source: USPTO PAIR Database; Institute for Progress analysis
   Seventy Percent of IPREs receive a Office
   Action on the Same Day as the Reexam is Ordered


                Distribution of IPRE Cases: Days between Reexam Order and 1 Office Action
                      Percent 80
                     of cases
                                        190+- Cases
                                         70%          of cases




                                                                  10%



                                        Zero         1 to 30     31 to 90 91 to 180   181 to   271 to   Greater
                                                                                       270      360     than 360
                                                                                                            Days from Reexam Order
                                                                                                              to 1
                                                                                                                   st Offce Action
                                                The patent holder is p ed from providing
                                           information to the examiner prior to the 1st Offce Action
                                                                                                                                     Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 86 of 111 PageID# 717




Source: USPTO PAIR Database; Institute for Progress analysis
                                                                                                                        .........




                                                                                                                                                      Ii
  The USPTO Reports an Average Pendency of 28. 5 Months;
  This Estimate is Skewed by Cases that have Skipped Steps


          th taken by I- Reexams that have                                                              Appeal                         BPAI                   Court of
                                                                                                       Docketed                      Decision                 Appeals
             received a Reexam Certificate
                                                                                              62%




   Original
                    94%                        100%                     38% ActonClosing 100%           Right of         100 10                       100%    Reexam
  Request for                     Reexam                 Non- Final                                                                 Intent to Issue
                                                                                                        Appeal                                               Certficate
 Inter Partes
    Rexam
                                  Ordered                 Action                Prosecution
                                                                                                         Notice
                                                                                                                             01       Certificate
                                                                                                                                                              Issued



                               The 16 Inter Partes Reexams that have received a final certificate made it through the case
                               because they skipped steps
  Correced                       . In 10 of 16 cases , the patent holder did not respond to an offce action
 Request for                      None of the patent holders appealed the decision
 Inter Partes                  The low average pendency that the USPTO report is driven by the cases that skipped steps
   Reexam                       . Pendency for the 10 cases that skipped steps was "-24 months
                                . Pendency for the 6 cases that went through ACP and Right of Appeal was "'39 months


Note:   The 16 cases here include all cases receiving a Reexam Certificate through            Key:    #+-Number of reexams leaving step on this path
        April 16 , 2008. The most recent data published by the USPTO includes only 12                                                           s::
        cases through the end of their fiscal year (9/30/2007). The average pendency of        Step

        these 16 cases is slightly longer (30. 1 months) than the USPTO' s sttistic based                   Arrow                     Normal sequence
        12 cases.                                                                                           coloring:                 Skipped steps
                                                                                                                                                                          Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 87 of 111 PageID# 718




Source: USPTO PAIR Database; Institute for Progress analysis
                                                                                                                                    ---

   The Normal IPRE Process Takes Much Longer than
   the USPTO' s 28. 5 Months - even without an appeal


                           Timeline of Inter Partes Reexams Without Appeal

                   Request - Decision          2.4:! o.



                           Decision - 1st                                                                         95% Confidence Interval

                           Office Actio n
                                               DB 1.7 :! 0.                                                             Lower Upper
                                                                                                                                    und
                    1 st   Office Action -
                                                               15. 8 :! 1.
                            1 st ACP


                    1st ACP - Right of                                       8 :! 1.6                                        Mean
                         Appeal
                      Right of Appeal -
                                                                                        7:! 3.
                       Intent to Issue
                     Intent to Issue -
                                                                                             2:! 1.7
                    Certificate Issued

                                    Total                                                              43. 5 9.

                                                                                                           60 Months


                                     Without an appeal , the average expected pendancy period
                                       for inter partes reexams is between 34 and 53 months
                                                                                                                                            Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 88 of 111 PageID# 719




Source: USPTO PAIR Database; Institute for Progress analysis
                           ...




  With an Appeal , the                                    IPRE Process I.
  Takes at least Five to Eight Years
                                                                                                                             "1 ,      Ai
  This Estimate Dos Not Include " Rework" and Secondary Appeals

                             Timeline of Inter Partes Reexams With Appeal
                                     Request - Decision

                           Decision - 1st Office Action                                                             95% Confidence Interval
                                                                                                                           Lower Upper
                            1st Office Action - 1st ACP              15. 8 :t 1.8                                                       uoo


                             1st ACP - Right of Appeal                              1.6


                  Right of Appeal - Appeal Docketed                                                                             Mean


                    Appeal Docketed - SPAI Decision                                                0 :t 2 3

                    NobqclY knows how long a case may spel1dln "rework" or secondary appeal"
                                    No IPRE case haseverreached this sta e
                       SPAI Decision - Intent to ISS                                           tm7. :t 3.
                    Intent to Isse - Certificate Issed

                                                  Total                                                         78. 4:! 18. 1 plus?

                                                                   20 40 60 80                                100 Months
      With an appeal , the pendancy period for inter partes reexams is AT LEAST 60 to 97 months (5-8 years!)
                                 and that doesn t include " rework" after an appeal or secondary appeals
(1) Assumes the same time from BPAI Decision - Intent to Issue as for Right of Appeal- Intent to Issue
                                                                                                                                              Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 89 of 111 PageID# 720




Source: USPTO PAIR Database; Institute for Progress analysis
  How Far Have the Inter Partes Reexams Gotten?
  Where Does the Work- In- Process Sit?
  All Inter Partes Reexams through April 16, 2008


                   IPRE Cases by Year of Original Request and Last Step COMPLETED
                                                                                 Appeal       BPAI            Court of
                                                                                Docketed    Decision          Appeals
                                               03 -              02 -
                                               04 -              03 -
                        as -                   as -              04 -           03 -        02 -
                        06 - 12                06 -              as - 10        Tot - 2     03 -
  07 -                  07 - 34                07 -              06 - 22                   Tot - 3
  08 - 23               08 -                   08 -              07 -
 Tot - 28              Tot - 52               Tot - 147         Tot - 50
   Original                                                                     Right of                      Reexam
 Request for             Reexam                 Non- Final     Action Closing              Intent to Issue
                                                                                Appeal                       Certificate
 Inter Partes            Ordered                 Action         Prosecution                  Certificate
                                                                                 Notice                       Issued
   Rexam
                                                                                02 -         03 -            01-
                                                                                03 -         04 -            02 -
                                                                                04 - 14      as -            03 -
                                                                 as -           as - 13      06 -            04 -
                                                                                06 -         07 -            as -
                             as -                 03 -           06 -
                                                                                07 -        Tot - 16         06 -
                              07 - 6              07 -           07 -
                                                                Tot - 10        Tot - 47                     Tot - 16
                             Tot - 9              Tot - 3

  07- 7                                                          Reexam
                          Reexam Denied
  08 -                                                          Terminated
  Tot - 12


Source: USPTO PAIR Database; Institute for Progress analysis
                                                                                                                           Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 90 of 111 PageID# 721
  "",,,,,,,=,,,- ,,.,,,.    ",,                                                         ,."..,.""--==,,,,, ,,,,,,,,.




                                                                                                                                                               I r

               Patents that go through Inter
               Partes Reexam are fairly young
                                    Years from Patent Grant to                                                              Years from Patent Grant to
                                  Inter Partes Reexam Requested                                                           Inter Partes Reexam Requested
              160                                                                                               140
                                       147 146                                                                                             10)
                                       37%)       37%)
              140                                                                                               120
                                                                                                                                (33%)

              120
                                                                                                                100

               100



                                                           19%)                                                                                  (19%)




                            (6%)                                                                                        (7%)


                                                                      (1%)                                                                                  (1%)
                                                                              (0%)                                                                                    (0%)
                           0-2 yrs    2-4 yrs   4-6 yrs   6-8 yrs    8-10 yrs 10+ yrs                                  0-2 yrs 2-4 yrs 4-6 yrs   6-8 yrs 8-10 yrs 10+ yrs


                                  # in data set                     395                                                   # in data set                  332
                                  Mean                              4.47 years                                            Mean                             56 years
                                  Median                            4.40 years                                            Median                         4.40 years
                                                                                                                                                                             Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 91 of 111 PageID# 722




Source: USPTO PAIR database, Grant Dates from Micropatent, Institute for Progress analysis
About the authors
Mark Blaxill   and   Ralph Eckardt    are founding Fellows of the Institute
for Progress , and authors of the upcoming book The Invisible Edge:
Taking Your Strategy to the Next Level Using Intellectual Propert
(Portolio, March 2009). They are managing partners of 3LP Advisors
an investment advisory firm focused on intellectual propert
transactions. Blaxill is a former vice president of The Boston Consulting
Group (BCG) and was head of its Strategy practice initiative. Eckardt is
the former head of BCG's Intellectual   Propert Strategy practice.
                                                                              Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 92 of 111 PageID# 723
Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 93 of 111 PageID# 724
Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 94 of 111 PageID# 725




                        UNITED STATES PATENT AND TRADEMARK OFFICE

                                                                                                               Commissioner for Patents
                                                                                               United States Patent and Trademark Offce
                                                                                                                            O, Box 1450
                                                                                                             Alexandria , VA 22313- 1450
                                                                                                                       ww. uspto. gov

                              Ex Parte Reexamination Filing Data - March 31                                2009

                 Total requests fied since start of                ex parte     reexam on 07/01/81..................................... 9893
                     a. By patent owner                                                                                3603                 36%
                     b. By other member of public                                                                      6125                 62%
                     c. By order of Commissioner                                                                         165


                 Number of fiings by discipline
                     a. Chemical Operation                                                                              2873                29%
                     b. Electrical Operation                                                                            3404                34%
                     c. Mechanical Operation                                                                            3456                35%
                     d. Design Patents                                                                                    160


                 Annual Ex Parte Reexam Filings
                 Fiscal Yr.      No. ) 1989           Fiscal Yr. No.                 iscal Yr. No.                Fiscal Yr.    No.
                   1981
                   1982          187 1991
                                   78 (3 mos.
                                 186 1990                               243
                                                                        297
                                                                                     1997 376
                                                                                     1998
                                                                                     1999 350
                                                                                                                  2005
                                                                                                                  2006
                                                                                                                                524
                                                                                                                                511
                   1983
                   1984          189 1992
                                 230
                                                                        307
                                                                        392          2000 385
                                                                                          318
                                                                                                                  2007
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                                                                                                                                643
                                                                                                                                680
                   1985
                   1986          232
                                 240
                                     1993
                                     1994                               359
                                                                        379
                                                                                     2001 296
                                                                                     2002 272                     2009          308 YTD
                   1987
                   1988          268 1996
                                     1995
                N umber known to be in litigation.. . ..
                                                                        392
                                                                        418
                                                                                     2003 392
                                                                                     2004 441
                                                                                                                       2992. ...... .... ....... 30%


                I)ecisions on requests.................................................................................... ................... 9525
                a. No. granted....... """'"'''''''''''''''''''''''''''''''''''''''''''''' ..                          8754.............. ...
                      (1) By examiner                                                                                  8641
                      (2) By Director (on petition)                                                                     113

                b. No. denied.                                                                                          771.............. .... 80/0
                      (1) By examiner                                                                                   736
                      (2) Reexam vacated



                 01' the requests received in FY 2009 , 26 requests have not yet been accorded a fiing date , and preprocessing of 12
     requests was tet1inated for failure to comply with the requirements 01'37 CFR L51O, See Clarification of Filng Date
     Requirements for    Ex Parte  and Inter Partes Reexamination Proceedings , Final Rule 71 Fed, Reg, 44219 (August 4 , 2006),
                                                                          .......... ............................ ..
                                                                                         ...... .......... """ ......
Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 95 of 111 PageID# 726




            Total examiner denials (includes denials reserved by Director)........... .......................... 849

            a. Patent owner requester                                                         444                       52%
            b. Third party requester                                                          405                       48%

            Overall reexamination pendency (Filing date to certificate issue date)

                 A verage pendency                                                            24. 8 (mos.
                 Median pendency                                                              19.3 (mos.
            Reexam certificate claim analysis:            Owner           3rd   Part        Comm
                                                            uester               uester     Initiated            Overall
                 All claims confirmed                       22%            27%                 12%                  25%
                 All claims cancelled                                      13%                 21%                  11%
                 Claims changes                             70%            60%                 67%                  64%
        9. Total ex parte reexamination certificates issued (1981 - present)                                        6743

           a. Certi ficates with all claims confirmed 1681                                                          25%
           b. Certificates with all claims canceled 4306                     756                                    11%
           c. Certificates with claims changes                                                                      64%
        10. Reexam claim analysis - requester is patent owner or 3              party; or Comm r initiated.
            a. Certificates - PATENT OWNER REQUESTER..................................... ... .2790
                 (1) All claims confirmed                                                        619               22%
                 (2) All claims canceled                                                         228
                 (3) Claim changes                                                             1943                 70%

            b.   Certificates - 3   PARTY REQUESTER............................................... ... 3806

                 (1) All claims confirmed                                                      1044                27%
                 (2) All claims canceled                                                        497                 13%
                 (3) Claim changes                                                             2265                60%
           c. Certificates - COMM' R INITIATED REEXAM .                                                                 147

                 (1) All claims confirmed                                                                           12%
                 (2) All claims canceled                                                                           21%
                 (3) Claim changes                                                                                 67%
Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 96 of 111 PageID# 727




                  EXHIBIT
 **:;                                                  ",.."..,
                                                    !"-".
                                                        '. "    :;;:';;_.'

Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 97 of 111 PageID# 728
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                                                                                       " ,.......................................,
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                                                                                     '!."''''    """ ""
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                CITATION OF PRIOR ART AND EX PARTE REEXAMINATION OF PATENTS                                                                                           2201




                              Ex Parte    Reexamination. PROCEDURE PRIOR TO APPEAL
                                             (appllc:ble rula nclon)
                                         (1 )      Re u..t for Reexaminati flied 1. 510
                                                                                                                                  NDde. DI ,.qu..t
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                                                 I. denied :: ' Ne au..tI? '

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                       No Amendment
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                                                           E.iimi ir'         iii. ii"."-.' r'. ;:1' ii.''''...
                                                                                                     J.......       10


                                                                        xamln.r'eopena "                          v..


                                                      P.tont 0."",11.. Nole. of Appe.1 (41,31)                     (11 )




                                                                        2200-3                                                                            Rev, 5 , Aug, 200
Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 98 of 111 PageID# 729




 2201                                         MANUAL OF PATENT EXAMINING PROCEDURE



                                   Ex Parte        ReexaminatIon - PROCEDURE FROM TIME OF APPEAL
                                                         (applicable rule section)


                                                                                                              (11 )
                                                          Patent ow.. nte Notice of AppeeI141. 31)
                                                                                                     Ann"AI hriM' nnt filM

                                                                                                                      (12) 'u.... ... .....

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                        Inltl.te. new appeol
                                                               No .
                                                                     . EJC8mlner . Anawer .
                                                                              . I.sued? .

                                                                                           es  1:
                                                                                                                      Where 8)(8In;ner
                                                                                                                  changes position to add
                                                                                                                  new ground of rejection.
                                                                                                                         :n must be




           P.tont OWner            rOi;;.' ik.n'
          rospon.. under
                                   : Reopening:
            111 or 1. 113.         : Proeecut :
                                   U:t.       t'!1(1)U                       W!: !j.)x '                     jjj)jJ
                                                              (16)

( 19)    P.tent OWne,         New ground of rejecn (41, 50(b)) ,.................. .............
          amondment                                                      Board Decision                 ! ( 17 )
            and/or
        Showing of fac.
                                                                                        !n...... "
                  (bH1)                                       Examiner affrm at
        Se. 41.
                                                              lea.tln part; no new Examiner reverad
                                                              ground

                                                                                                                 Notic. of Intent to I.sue

             41.0Ib)(2)
                                                         urtActio
                                                  Patnt OWne, Take.                                             Reexamination Cera"cate




                                                                                                         (20)
                                                                                                                                             i!j;




  Rev, 5 , Aug, 200                                                           2200-
Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 99 of 111 PageID# 730




                 EXHIBIT K
                 EX PARTE REEXAMINATION TIME LINE (USE WITH MPEP FLOWCHART)



I Request for Reexamination I 37 CFR                        1.510 Request for            ex parte    reexamination.
  fied
I Notice of request Published I 37 CFR                      1.11 Files open to the public.
  in Offcial Gaztte
  Reexamination ordered                  I 37 CFR           1.525 Order for          ex parte       reexamination.
I Patent Owner statement                 I 37 CFR           1.530 Statement by patent owner in                    ex parte    2 months or more
                                           reexamination; amendment by patent owner in                             ex parte   from date of the
                                           reexamination.                                                                     order
                                           (b) The order for
                                                           ex parte  reexamination wil set a period of not
                                           less than two month from the date of the order within which the
                                           patent owner may fie a statement on the new question of
                                           patentabilty, including any proposed amendments the patent
                                           owner wishes to make.
I Third Pary Requester                     37 CFR              1.535 Reply by third                 part   requester in
                                                                                                         ex parte within 2 month of
  reply                                    reexamination.                                                         service of patent
                                          A reply to the patent owner s statement under 9 1. 530 may be filed owner s statement
                                          by the    ex parte    reexamination requester within two month from
                                          the date of service of the patent owner s statement. Any reply by
                                          the  ex parte      requester must be served upon the patent owner in
                                          accordance with 9 1. 248. If the patent owner does not fie a
                                           statement under 9 1. 530, no reply or other submission from the
                                          parte         reexamination requester will be considered.
I Examiner issues Offce                           CFR       1.104 Nature of examination.                                      time period vares
  Action                                                                                                                      (ca be over one
                                                                                                                              year)
                                                                                                                                                  Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 100 of 111 PageID# 731
Patent Owner response      37 CFR                 1.550 Conduct of                ex     parte           reexamination
after non- final action    proceedings.
                           (b) The patent owner in an   ex parte reexamination proceeding will
                           be given at least thirt days to respond to any Offce action. In
                           response to any rejection, such response may include                           fuer
                           statements and/or proposed amendments or new claims to place
                           the patent in a condition where all claims , if amended as proposed
                           would be patentable.
                           (c) The time for taing any action by a patnt owner in an ex parte
                           reexamination proceeding wil be extended only for suffcient
                           cause and for a reasonable time specified. Any request for such
                           extension must be fied on or before the day on which action by
                           the patent owner is due, but in no case will the mere fiing of a
                           request effect any extension. Any request for such extension must
                           be accompaned by the petition fee set fort in     17(g).
                           (d) If the patent owner fails to fie a timely and appropriate
                           response to any Offce action or any wrtten statement of an
                           interview required under                  1.560(b), the prosecution in the

                           parte    reexaination proceeding will be a terminated prosecution
                           and the Director wil proceed to issue and publish a certificate
                           concludg the reexamination procng                    1.570 in         under

                           accordance with the last action of the Offce.

Examiner issues final      37 CFR          1.113 Final rejection or action.                                              time period vares
rejection                                                                                                                (ca be over one
                                                                                                                         year)
Patent Owner paper after   MPEP       2272. 1 The statutory period for response to a fina                                within 2 months of
final rejection            rejection in a reexamination proceeding will nonnally be two (2)                              fina rejection
                           month. If a response to the final rejection is fied, the time period
                           set in the final re ection continues to run. The time riod is
                                                                                                                                              Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 101 of 111 PageID# 732
                                   _..


Step   No.   Step in   Ex PaTtI!                                        Relc\' unt   Statute or Rules             Time Period
              exam     FlowChart
                                         automatically extended by 1 month (in acordance with the
                                         guidelines set forth in MPEP     2265) if the response is the first
                                         response after the final rejection and a notice of appeal has not yet
                                         been filed. Any advisory Offce action using form PTOL-467, Ex
                                         Pare Reexamination Advisory Action Before the Filng of an
                                         Appeal Brief, which is issued in reply to patent owner s response
                                         after final rejection (and prior to the fiing of the notice of appeal)
                                         will inform the patent owner of the automatic I month extension
                                         of time. It should be noted that the filing of any timely first
                                         response to a final rejection (even an inormal response or even a
                                         response that is not signed) will automatically result in the
                                         extension of the shortened statutory period for an additional
                                         month. Note furter that the patent owner is entitled to know the
                                         examiner s ruling on a timely response fied afer final rejection
                                         before being required to fie a notice of appe. Notification of the
                                         examiner s ruling should reach the patent owner with suffcient
                                         time for the patent owner to consider the ruling and act on it.
                                         Accordingly, the period for response to the final rejection should
                                         be appropriately extended in the examiner s advisory action. See
                                         Theodore Groz & Sohne & Ernst Bechert Nadelfabrik KG v.
                                         Quigg, 10 USPQ2d 1787 (D. C. 1988). The period for response
                                         may not, however, be extended to ru past 6 months from the date
                                         of the final rejection.

                                         MPEP          2272. 11 The practice of giving the patent owner a time
                                         period to supply an omission in a bona fide response (as set fort
                                         in MPEP     2266. 0 I) does not apply afer a fmal Offce action. If a
                                         bona fide response to an examiner s action is fied after final
                                         rejection (before the expiration of the permissible response
                                         period), but through an apparent oversight or inadvertence, some
                                         point necessar to fully respond ha been omitted, the examiner
                                                                                                                                Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 102 of 111 PageID# 733
                                   should not issue (to the patent owner) a notice of failure to fully
                                   respond. Rather , an advisory Offce action (form PTOL-467)
                                   should be issued with an ex lantion of the omission.
10.   Examiner considers the       37 CFR          1.116 Amendments and affdavits or other evidence                             time period varies
      paper and may reopen         after final action and prior to appeal.
      prosecution; Patent Owner
      may submit amendments,
      afdavits and other
      evidence afer final Offce
      Action and prior to appeal
11.   (if Examiner does not        37 CFR          41.31 Appeal to Board.                                                       withn 2- 6 months
      reopen prosecution           (3) Every owner of a patent under                  ex parte     reexamination fied
                                   under    1.510 of this title on or afer November 29 , 1999 , any of
      Patent Owner fies Notice
                                   whose claims ha been finally ( 1.113 of this title) rejected , may
      of Appeal
                                   appeal from the decision of the exainer to the Board by fiing a
                                   notice of appeal accompanied by the fee set forth in                         41. 20(b)( 1)
                                   within the time period provided under                         1.134 of this title for
                                   reply.
                                   37 CFR          1.134 Time period for reply to an Offce action.
                                   An Offce action will notify the applicant of any non-statutory or
                                   shortened statutory time period set for reply to an Offce action.
                                   Unless the applicat is notified in wrting that a reply is required in
                                   less than six months , a maximum period of six months is allowed.
                                   MPEP          2273 Appeal in            Ex Parte       Reexamination
                                   The period for filing the notice of appea is the period set for
                                   response in the last Office action which is normally 2 months. The
                                   timely filing of a first response to a final rejection having a
                                   shortened statutory period for response is constred as including a
                                   request to extend thel! rig for res nse an additional month
                                                                                                                                                     Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 103 of 111 PageID# 734
                                 even if an extension has been previously granted , as long as the
                                 period for response does not exceed 6 months from the date of the
                                 final rejection. The normal ex parte appeal procedures set fort at
                                 37 CFR t 41.31 through 37 CFR t 41.54 apply in                             ex parte
                                 reexamination , except as pointed out in this Chapter. A third                               par
                                 requester may not appeal or otherwse participae in the appeal.
12.   Patent Owner fies Appeal   37 CFR    41.37 Appeal brief.                                                                        within 2 month of
      Brief                      (a)(l) Appellant must fie a brief under this section within two                                      Notice of Appea
                                 month from the date of filing the notice of appeal under                                    41.31.   but extendable
                                                                                                                                      under 1.550(c).
                                 (e) The time periods set fort in this section ar extendable under
                                 the provisions of               136 of ths title for patent applications and

                                   550(c) of this title for          ex parte       reexamination proceedings.
                                 37 CFR          1.550 Conduct of               ex parte   reexamination pro-
                                 ceedings.
                                 (c) The time for takg any action by a patent owner in an    ex parte
                                 reexation proceeding will be extended only for sufcient
                                 cause and for a reasonable time specified. Any request for such
                                 extension must be fied on or before the day on which action by
                                 the patent owner is due, but in no case will the mere filing of a
                                 request effect any extension. Any request for such extension must
                                 be accompanied by the petition fee set forth in                                17(g). See

                                   304(a) for extensions of time for filing a notice of appeal to the
                                    S. Court of Appeals for the Federal Circuit or for commencing a
                                 civil action.
                                 MPEP 2274. III. EXTENSION OF TIME FOR FILING
                                 APPEAL BRIEF
                                 In the event that the patent owner finds tht he or she is unable to
                                 fie a brief within the time allowed by the rules , he or she ma file
                                                                                                                                                          Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 104 of 111 PageID# 735
                                   a petition with the appropriate extension oftime fee , to the Central
                                   Reexaination Unit (CRU) or Technology Center (TC),
                                   requesting additional time (usually 1 month), and give reasons for
                                   the request. The petition should contain the address to which the
                                   response is to be sent. If suffcient cause is shown and the petition
                                   is fied prior to the expiration of the period sought to be extended (
                                   37 CFR 1.550(c)), the CRU or TC Director is authorized to grant
                                   the extension for up to 1 month. Requests for extensions of time
                                   for more than I month will also be decided by the CRU or TC
                                   Director , but will not be granted uness extraordinar
                                   circwnstaces are involved; e. , death or incapacitation of the
                                   patent owner. The time extended is added to the last calenda day
                                   of the origin period , as opposed to being added to the day it
                                   would have been due when said last day is a Satuday, Sunday, or
                                   Federal holiday.

13.   Appea Conference                                                                                     time period vares
14.   (if exiner does not          37 CFR     41.39 Examiner s answer.                                     time period vares
      change position to add new   (a)(I) The primary examiner may, within such time as may be             (can range from
      ground of rejection)         directed by the Director , fuish a wrtten anwer to the appeal           two months to over
      Examiner s Answer            brief including such explanation of the invention claimed and of        a year)
                                   the references relied upon and grounds of rejection as may be
                                   necessa, supplying a copy to appellant. If the primar examiner
                                   detennines that the appeal does not comply with the provisions of
                                      41. 31 and 41.3 7 or does not relate to an appealable action, the
                                   primar examiner shall make such detennination of record.

15.   Patent Owner files Reply     37 CFR fi 41.41 Reply brief.                                            withn 2 month of
      Brief                        (a)(I) Appellantmay fie a reply brief to an examiner s anwer Examiner
                                   within two months from the date of the examiner s anwer.     Answer, extendable
                                                                                                           for ood cause
                                                                                                                                Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 105 of 111 PageID# 736
                                   (c) Extensions of time under 9 1.136 (a) of this title for patent
                                   applications are not applicable to the time period set fort in ths
                                   section. See     136 (b) of this title for extensions of time to reply
                                   for patent applications and 9 1.550 (c) of this title for extensions of
                                   time to repl for  ex arte  reexamination roceedin s.
16.   (if Examiner stil does not   37 eFR     41.43 Examiner s response to reply brief.                  time period vares
      reopen prosecution-j         (a)(I) After receipt ofa reply brief in compliance with 9 41.41 , the
                                   primar examer must acknowledge receipt and entry of the reply
      Acknowledge Reply Brief
                                   brief. In addition, the      priar examiner may withdraw the final
                                   rejection and reopen prosecution or may furnish a supplementa
                                   examiner s answer responding to any new issue rased in the reply
                                   brief.
17.   Request for Oral Hearing     37 eFR             41.47                                                  within 2 month
      (not shown in flow char)                                                                               after Examiner
                                                                                                             Answer or
                                                                                                             Supplemental
                                                                                                             Examiner s Answer
18.   Oral Heang Before BP AI      37 eFR             41.47                                                  timing varies;
      (not shown in flow char)                                                                               typicaly withn 6-
                                                                                                             12 months after
                                                                                                             filing of request for
                                                                                                             oral heag
19.   Board Decision               37 eFR             41.50 Decisions and otber actions by tbe Board.        time period vares
      The Board may:

      (1) afnn the Examiner
      decision
      (2) reverse the Examiner
      decision
                                                                                                                                     Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 106 of 111 PageID# 737
      (3) remand the proceeding
      to the Examiner for furher
      consideration; or
      (4) provide a new ground
      of rejection
      (if Board Decision is
      adverse to Patent Owner)
20.    Patent Owner requests       37 CFR    41.50 Decisions and other actions by the Board.               Within 2 months of
       rehearing                   (b) Should the Boad have knowledge of any grounds not involved          Board Deision
       (Loop back /0 Board         in the appeal for rejecting any pending claim , it may include in its
       Decision)                   opinion a statement to that effect with its reasons for so holding,
                                   which statement constitutes a new ground of rejection of the
                                   claim. A new ground of rejection pursuat to this paragraph shall
                                   not be considered final for judicial review. When the Board makes
                                   a new ground of rejection, the appellant, within two months from
                                   the date of the decision , must exercise one of the following two
                                   options with respect to the new ground of rejection to avoid
                                   tennination of the appeal as to the rejected claims:
                                       (2) Request rehearng. Request that the proceeding be reheard
                                       under   41.52 by the Board upon the same record. The request
                                       for rehearing must address any new ground of rejection and
                                       state with paricularty the points believed to have been
                                       misapprehended or overlooked in entering the new ground
                                       rejection and also state all other grounds upon which reheaing
                                       is sou t.
21.                                37 CFR    41.50 Decisions and other actions by the Board.             Within 2 months of
       Patent Owner                (b) Should the Board have knowledge of any grounds not involved Board Decision
          endment and/or           in the appeal for rejecting any pending claim , it may include in its
                                   opinion a statement to tht effect with its reasons for so holding,
       Showin of new
                                                                                                                                Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 107 of 111 PageID# 738
----   "..._....__.                             ----.'.".-- --.




                                                                  -_._...m.'
Step No.                 Step in   Ex Parte                                          Relevant Statute or Rules                     Time Period
                        Reuam FlowChart
                      evidence                   which statement constitutes a new ground of rejection of the
                                                 claim. A new grund of rejection pursuat to this pargraph shall
                                                 not be considered final for judicial review. When the Board makes
                                                 a new ground of rejection , the appellant, within two months from
                                                 the date of the decision , must exercise one of the following two
                                                 options with respect to the new ground of rejection to avoid
                                                 termination of the appeal as to the rejected claims:
                                                    (1) Reopen prosecution. Submit an appropriate amendment of
                                                    the clais so rejected or new evidence relating to the claims so
                                                    rejected , or both and have the matter recnsidered by the
                                                    examiner, in which event the proceeding will be remanded to
                                                    the examiner. The new ground of rejection is binding upon the
                                                    examiner unless an amendment or new evidence not previously
                                                    of record is made which , in the opinion of the examiner
                                                    overcomes the new ground of rejection stted in the decision.
                                                    Should the examiner reject the claims , appellant may again
                                                         appeal to the Board pursuant to this subpar.
   22.                                          37 CFR                         1.301 Appeal to U. S. Court of Appeals for the   Within 2 months of
                      Patent Owner appeals to    Federal Circuit.                                                               Board Decision
                      Federal Circuit           Any applicat , or any owner of a patent involved in any            ex parte
                                                reexamination proceeding fied under         510, dissatisfied with the
                      (Reexam Certifcate        decision of the Board of Patent Appeals and Interferences , and any
                      issues only upon Court
                                                pay to an interference dissatisfied with the decision of the Board
                      Decision)                 of Patent Appeals and Interferences, may appeal to the U. S. Cour
                                                of Appels for the Federal Circuit. The appellant must tae the
                                                following steps in such an appeal: In the U. S. Patent and
                                                Trademark Offce , file a wrtten notice of appeal directed to the
                                                Director (      302 and 1. 304); and in the Cour, file a copy of the
                                                notice of appeal and pay the fee for appeal as provided by the rules
                                                of the Cour For appeals by paent owners and thrd
                                                requesters in inter vartes reexamnation proceedinRs fied under
                                                                                                                                                     Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 108 of 111 PageID# 739
37 CFR      1.304 Time for appeal or civil action.
(a)(l) The time for fiing the notice of appeal to the U. S. Cour of
Appeas for the Federal Circuit ( 1.302) or for commencing a
civil action ( 1.303) is two months from the date of the decision
of the Board of Patent Appeas and Interferences. If a request for
reheaing or recnsideration of the decision is fied within the time
period provided under        41.52(a),   41.79(a), or   41.127(d) of
this title, the time for fiing an appea or commencing a civil action
shall expire two months after action on the request. In contested
cases before the Board of Patent Appeals and Interferences, the
time for filing a cross-appe or cross-action expires:
         (i) Foureen days afer service of the notice ofappea or the
       summons and complaint; or
       (ii) Two months afer the date of decision of the Board of
       Patent Appeals and Interferences, whichever is later.
(2) The time periods set fort in this section are not subject to the
provisions of     1.136    1.550(c), or   1.956 , or of   41.4 of this
title.
(3) The Dirctor may extend the time for filing an appea or
commencing a civil action:
         (i) For good cause shown if requested in writing before the
         expiration of the period for fiing an appea or commencing a
         civil action, or
         (ii) Upon wrtten request after the expiration of the period for
         fiing an appea or commencing a civil action upon a showing
         tht the failure to act was the result of excusable neglec.
(b) The times specified in this section in days are calendar days.
The time specified herein in months are calendar months except
tht one day shall be added to any two-month period which
                                                                           Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 109 of 111 PageID# 740
includes Februry 28. If the last day of the time specified for
appeal or commencing a civil action falls on a Saturday, Sunday or
Federal holiday in the District of Columbia, the time is extended to
the next day which is neither a Saturday, Sunday nor a Federa
holiday.

MPEP 12279 Appeal to Courts

In an   ex parte
              reexamination fied on or after November 29 , 1999,
the patent owner may appeal the decision of the Board of Patent
Appeals and Interferences only to the Unite States Cour of
Appes for the Federal Circuit pursuat to 35 U. C. 141. Ths is
baed on the curent version of 35 V. c. 141 and 35 U. C. 145
as they were amended by Public Law 106- 113. Ths "curent
version " of 35 V. C. 141 and 35 U. c. 145 applies to appeals in
reexamination , where the reexamination was fied in the Offce on
or afer November 29 , 1999. See Section 13202(d) of Public Law
107- 273.

A third par requester of an    ex parte   reexamination may not seek
judicial review. Yuaa Banery v. Comm r, 3 USPQ2d 1143
(D.         1987).

Whle the reexamation statutory provisions do not provide for
paicipaion by any third      requester durg any cour review
                              pa
the cour have permined intervention by a thrd pary requester in
appropriate circumstaces. See In re Etter , 756 F. 2d 852 , 225
USPQ 1 (Fed. Cir. 1985) and Reed v. Quigg, 230 USPQ 62
(D.     C. 1986). See also MPEP 9 1216 , 9 1216.    , and 9 1216. 02.
A third par requester who is permitted to intervene in a civil
action ha no stadin to a eal the cour' s decision, Boein Co. v.
                                                                        Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 110 of 111 PageID# 741
Case 3:09-cv-00620-REP Document 49-3 Filed 07/30/09 Page 111 of 111 PageID# 742




  Step,
